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 7   Telephone: + 1 (415) 591-6000
 8   Facsimile: + 1 (415) 591-6091
 9   Attorneys for Plaintiff
10   THE WALT DISNEY COMPANY
11

12                            UNITED STATES DISTRICT COURT
13                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
14

15                                                    Civil Case No.:
      THE WALT DISNEY COMPANY,
16

17          Plaintiff,                                DECLARATION OF MARTIN H.
                                                      MYERS IN SUPPORT OF
18          v.                                        PLAINTIFF THE WALT DISNEY
19                                                    COMPANY’S MOTION TO
      AIG SPECIALTY INSURANCE                         COMPEL ARBITRATION
20    COMPANY f/k/a CHARTIS SPECIALTY
21    INSURANCE COMPANY,
22
            Defendant.
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         DECLARATION OF MARTIN H. MYERS IN SUPPORT OF PLAINTIFF THE WALT DISNEY COMPANY’S
                                  MOTION TO COMPEL ARBITRATION
     Case 2:17-cv-07598-GW-E Document 1-2 Filed 10/17/17 Page 2 of 94 Page ID #:18



 1                I, Martin H. Myers, declare and state as follows:
 2                1.    I am a partner at the law firm of Covington & Burling LLP, and am
 3   lead counsel for Plaintiff The Walt Disney Company (“TWDC”) in the above-captioned
 4   suit. I have personal knowledge of the matters stated herein and, if called upon, could
 5   competently testify thereto.
 6                2.    Attached hereto as Exhibit 1 is a true and correct copy of “Digital
 7   Technology & Professional Liability Insurance” Policy No. G21654115 006, effective
 8   May 1, 2012, to May 1, 2013, issued by Illinois Union Insurance Company. This policy
 9   will be referred to as the “Primary Policy.”
10                3.    Attached hereto as Exhibit 2 is a true and correct copy of “Excess
11   Edge” Policy No. 01-855-73-58, effective May 1, 2012, to May 1, 2013, issued by
12   Defendant Chartis Specialty Insurance Company (“AIG”) to TWDC as the “Named
13   Insured.” This policy will be referred to as the “Excess Policy.”
14                4.    TWDC sought insurance coverage under the Primary Policy, the
15   Excess Policy and other insurance policies in the same insurance program for an
16   underlying lawsuit filed against one of its subsidiaries and other insureds.
17                5.    I was personally involved in discussions with AIG and the other
18   insurers that participated in the insurance program containing the Primary Policy and
19   Excess Policy. After the underlying lawsuit was resolved by settlement, all of the
20   insurers in the same program—except AIG and one of its affiliates—agreed to contribute
21   in full to the settlement. AIG declined to contribute and denied coverage.
22                6.    Attached hereto as Exhibit 3 is a true and correct copy of the relevant,
23   public portions of a letter dated June 22, 2017, that I received from AIG’s attorney,
24   Michael J. Bowe of Kasowitz Benson & Torres LLP.
25                7.    Attached hereto as Exhibit 4 is a true and correct copy of the relevant,
26   public portions of a letter dated June 28, 2017, that Rukesh Korde of Covington &
27   Burling LLP sent to Mr. Bowe.
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         DECLARATION OF MARTIN H. MYERS IN SUPPORT OF PLAINTIFF THE WALT DISNEY COMPANY’S
                                  MOTION TO COMPEL ARBITRATION
     Case 2:17-cv-07598-GW-E Document 1-2 Filed 10/17/17 Page 3 of 94 Page ID #:19



 1                 8.      No mediators were proposed or selected and no dates or locations for
 2   mediation were discussed relating to AIG’s proposal to mediate. A mediation provider
 3   was not selected. Mediation briefs were not submitted or exchanged, and the parties did
 4   not attend a mediation conference. TWDC did not agree to mediation.
 5                 9.      Attached hereto as Exhibit 5 is a true and correct copy of the relevant,
 6   public portions of a letter dated July 7, 2017, that I received from AIG’s counsel,
 7   Alexander B. Simkin of Kasowitz Benson & Torres LLP.
 8                 10.     Attached hereto as Exhibit 6 is a true and correct copy of the relevant,
 9   public portions of a letter dated September 1, 2017, that I sent to Mr. Bowe.
10                 11.     On September 1, 2017, TWDC submitted a Demand for Arbitration
11   against AIG with the Los Angeles office of JAMS.
12                 12.     Attached hereto as Exhibit 7 is a true and correct copy of the relevant,
13   public portions of a letter dated September 12, 2017, that I received from Mr. Bowe.
14                 13.     Attached hereto as Exhibit 8 is a true and correct copy of the relevant,
15   public portions of a letter dated September 25, 2017, that I sent to Mr. Bowe.
16                 14.     During various conversations that I had with Messrs. Bowe and
17   Simkin in September and October 2017, both over the phone and in person, counsel
18   consistently expressed a willingness to use JAMS and to have the arbitration proceed
19   under the JAMS Rules. They never proposed that the parties use another arbitration
20   provider or other rules.
21                 15.     Attached hereto as Exhibit 9 is a true and correct copy of a letter
22   dated October 6, 2017, from Jeffrey A. Kiburtz of Covington & Burling LLP to the case
23   administrator at JAMS who had been assigned to TWDC’s arbitration demand.
24                 16.     Attached hereto as Exhibit 10 is a true and correct copy of the
25   relevant, public portions of email correspondence between Mr. Bowe and me dated
26   October 6, 2017.
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          DECLARATION OF MARTIN H. MYERS IN SUPPORT OF PLAINTIFF THE WALT DISNEY COMPANY’S MOTION TO COMPEL
                                                     ARBITRATION
     Case 2:17-cv-07598-GW-E Document 1-2 Filed 10/17/17 Page 4 of 94 Page ID #:20



 1                 17.     Attached hereto as Exhibit 11 is a true and correct copy of the
 2   relevant, public portions of a letter dated October 9, 2017, with attachments, from Mr.
 3   Bowe to the case administrator at JAMS LA.
 4                 18.     Attached hereto as Exhibit 12 is a true and correct copy of an email
 5   dated October 13, 2017, from the case administrator at JAMS LA to the parties.
 6                 I declare under penalty of perjury under the laws of the State of California
 7   that the foregoing is true and correct.
 8

 9                 Executed this 17th day of October, 2017, in San Francisco, California.
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                                                        By: /s/ Martin H. Myers
                                                             Martin H. Myers
12                                                           Attorneys for Plaintiff
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          DECLARATION OF MARTIN H. MYERS IN SUPPORT OF PLAINTIFF THE WALT DISNEY COMPANY’S MOTION TO COMPEL
                                                     ARBITRATION
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                           EXHIBIT 1
       Case 2:17-cv-07598-GW-E Document 1-2 Filed 10/17/17 Page 6 of 94 Page ID #:22
                Illinois Union Insurance Company
                                                                                              ACE DigiTech®
                                                                       Digital Technology & Professional
                                                                                Liability Insurance Policy
                                                                                                      Declarations
                            This Policy is issued by the stock insurance company listed above.

THIS POLICY IS A CLAIMS MADE AND REPORTED POLICY. EXCEPT AS OTHERWISE PROVIDED HEREIN, THIS
POLICY COVERS ONLY CLAIMS FIRST MADE AGAINST THE INSUREDS AND REPORTED TO THE INSURER
DURING THE POLICY PERIOD OR EXTENDED REPORTING PERIOD, IF APPLICABLE, AND WHICH ARE THE
RESULT OF WRONGFUL ACTS COMMITTED AFTER THE RETROACTIVE DATE BUT BEFORE THE END OF THE
POLICY PERIOD. PLEASE READ THIS POLICY CAREFULLY.
THE LIMITS OF LIABILITY AVAILABLE TO PAY INSURED DAMAGES SHALL BE REDUCED BY AMOUNTS
INCURRED FOR CLAIMS EXPENSES. FURTHER NOTE THAT AMOUNTS INCURRED FOR DAMAGES AND CLAIMS
EXPENSES SHALL BE APPLIED AGAINST THE RETENTION AMOUNT.
TERMS THAT APPEAR IN BOLD FACE TYPE HAVE SPECIAL MEANING.                             PLEASE REFER TO SECTION II,
DEFINITIONS.

 Policy No. G21654115 006
 Item 1. Named Insured:             The Walt Disney Company
         Principal Address:         500 S. Buena Vista Boulevard
                                    Burbank, CA 91521

 Item 2.   Policy Period:
                  From 12:01 a.m. 05/01/2012             To 12:01 a.m. 05/01/2013
                  (Local time at the address shown in Item 1)


 Item 3.   Insuring Agreement(s) Purchased ():

                      A.   Technology and Internet Errors and Omissions Liability
                      B.   Media Activities Liability
                      C.   Network Security Liability
                      D.   Privacy Liability
                      E.   Data Breach Fund


 Item 4.   Limit of Liability (including Claims Expenses):

           A.     Limit of Liability for Insuring Agreement(s) Purchased:
                                                                                    Each Claim    Aggregate
                 A.   Technology and Internet Errors and Omissions Liability        $15,000,000   $15,000,000
                 B.   Media Activities Liability                                    $15,000,000   $15,000,000
                 C.   Network Security Liability                                    $15,000,000   $15,000,000
                 D.   Privacy Liability                                             $15,000,000   $15,000,000
                 E.   Data Breach Fund                                              $10,000,000   $10,000,000



           B.     Regulatory Proceeding Sub-Limit of Liability                      $10,000,000   $10,000,000

           C.    Maximum Policy Aggregate Limit of Liability:                                     $15,000,000


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 Item 5.   Retention:
           $10,000,000 each Claim for Coverages A, B, C, and D
           $ 5,000,000 each Claim for Coverage E
           $20,000,000 each Claim for Injunctive Relief (to the extent such coverage is provided in c.a) and c.b) of the
                              definition of Damages)
 Item 6.   Notice to Insurer:

                   A.       Notice of Claim or Wrongful Act

                                      Director of Claims
                                      ACE Professional Risk
                                      P.O. Box 5105
                                      Scranton, PA 18505-0518

                                      e-mail: ProfessionalLiabilityFirstNotice@acegroup.com

                   B.       All other notices:

                                      Chief Underwriting Officer
                                      ACE USA - Professional Risk
                                      140 Broadway, 41st. Floor
                                      New York, NY 10005

 Item 7.   Policy Premium:            $1,575,000


 Item 8.   Intentionally left blank


 Item 9.   Optional Extended Reporting Period:

           A.      Additional Premium:        100% of Annual Premium

           B.      Additional Period:         12 Months

 Item 10. Retroactive Date:

                   A.   Technology and Internet Errors and Omissions Liability                01/01/1990
                   B.   Media Activities Liability                                            01/01/1990
                   C.   Network Security Liability                                            01/01/1990
                   D.   Privacy Liability                                                     01/01/1990
                   E.   Data Breach Fund                                                      01/01/1990


IN WITNESS WHEREOF, the Insurer has caused this Policy to be countersigned by a duly authorized representative of the
Insurer.




                                                                           ________________________________________
                                                                                  Authorized Representative

DATE: 05/17/2012

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                 Illinois Union Insurance Company
                                                                                               ACE DigiTech®
                                                                        Digital Technology & Professional
                                                                                 Liability Insurance Policy

In consideration of the payment of the premium, in reliance upon the Application, and subject to the Declarations and the
terms and conditions of this Policy, the Insureds and the Insurer agree as follows:
I.       INSURING AGREEMENTS
         Coverage is afforded pursuant to the only those Insuring Agreements purchased, as indicated in Item 3 of the
         Declarations.

         A.       Technology and Internet Errors and Omissions Liability
                  The Insurer will pay Damages and Claims Expenses by reason of a Claim first made against the
                  Insured during the Policy Period and reported to the Insurer pursuant to Section VIII, Notice, for any
                  Wrongful Acts taking place after the Retroactive Date and prior to the end of the Policy Period.
                  However this Insuring Agreement A shall not insure that portion of any Claim which would be covered
                  under Insuring Agreements C, or D, whether or not such Insuring Agreements were purchased.
         B.       Media Activities Liability
                  The Insurer will pay Damages and Claims Expenses, including such Damages and Claims Expenses
                  arising from liability Assumed Under Contract, by reason of a Claim first made against the Insured
                  during the Policy Period and reported to the Insurer pursuant to Section VIII, Notice, for any Wrongful
                  Acts, committed solely in the conduct of Media Activities, taking place after the Retroactive Date and
                  prior to the end of the Policy Period.
         C.       Network Security Liability
                  The Insurer will pay Damages and Claims Expenses by reason of a Claim first made against the
                  Insured during the Policy Period and reported to the Insurer pursuant to Section VIII, Notice, for any
                  Wrongful Acts taking place after the Retroactive Date and prior to the end of the Policy Period.
         D.       Privacy Liability
                  The Insurer will pay Damages and Claims Expenses by reason of a Claim first made against the
                  Insured during the Policy Period and reported to the Insurer pursuant to Section VIII, Notice, for any
                  Wrongful Acts taking place after the Retroactive Date and prior to the end of the Policy Period.
         E.       Data Breach Fund
                  The Insurer will pay Data Breach Expenses incurred by the Insured during the Policy Period by reason
                  of a Claim reported to the Insurer pursuant to Section VIII, Notice, for any Wrongful Acts taking place
                  after the Retroactive Date and prior to the end of the Policy Period.
II.      DEFINITIONS
         When used in this Policy:
         A.       Act of Cyberterrorism means any act, including force or violence, or the threat thereof expressly
                  directed against the Insured’s Computer System by an individual or group(s) of individuals, whether
                  acting alone, on behalf of or in connection with any organization(s) or government(s), to cause
                  unauthorized access to, unauthorized use of, a denial of service attack or transmission of unauthorized,
                  corrupting or harmful software code to the Insured’s Computer System for the purpose of furthering
                  social, ideological, religious or political objectives.
         B.       Additional Insured means:
                       i. any third party that distributes, prints, disseminates, displays or broadcasts the media content of
                          any Insured listed in 1 – 4 of the definition of Insured, including but not limited to films, music,
                          television programs, books, magazines or newspapers in the course of the provision by the
                          Insured of Media Activities, provided that:

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                           a. an Insured entered into a contract to indemnify such third party prior to the commission of
                              the Wrongful Act at issue;
                           b. following the receipt of a Claim against such third party, the Named Insured has requested
                              to the Insurer in writing that the Insurer provide coverage for such third party;
                           c.   such third party has not admitted liability in writing with respect to the Wrongful Act at issue;
                           d. coverage for such third party is limited to such third party’s vicarious liability for Wrongful
                              Acts committed by other Insured’s, and shall not include Wrongful Acts of the third party
                              itself; and
                           e. the Claim at issue does not arise from any matter that prior to the first day of the Policy
                              Period any Insured knew or reasonably should have known would likely lead to such Claim;
                       ii. the agent of an Insured (other than your employees or other Insureds listed above) performing
                           Media Activities on behalf of, and subject to the control and direction of an Insured listed in 1 –
                           4 of the definition of Insured, or acting pursuant to a loan-out agreement or production
                           agreement with an Insured listed in 1 – 4 of the definition of Insured, provided that:
                           a. an Insured entered into a contract to indemnify such agent prior to the commission of the
                              Wrongful Act at issue;
                           b. following the receipt of a Claim against such third party, the Named Insured has requested
                              to the Insurer in writing that the Insurer provide coverage for such agent;
                           c.   such agent has not admitted liability in writing with respect to the Wrongful Act at issue;
                           d. the Claim at issue does not arise from any matter that’ prior to the first day of the Policy
                              Period, any Insured knew or reasonably should have known would likely lead to such Claim;
                      iii. any third party from whom any other Insured listed in 1 – 4 of the definition of Insured acquires,
                           purchases or licenses media content, including but not limited to any manuscript, screenplay, or
                           musical work in the course of the provision by the Insured of Media Activities, provided that:
                           a. an Insured entered into a contract to indemnify such third party prior to the commission of
                              the Wrongful Act at issue, or such third party has agreed to hold the Insured harmless and
                              defend and indemnify the Insured for Claims arising from such media content;
                           b. such third party or any Insured listed in 1-4 of the definition of Insured has taken all
                              reasonable steps to clear such media content;
                           c. following the receipt of a Claim against such third party, the Named Insured has requested
                              to the Insurer in writing that the Insurer provide coverage for such third party;
                           d. the Claim at issue does not arise from any matter that, prior to the first day of the Policy
                              Period, any Insured knew or reasonably should have known would likely lead to such Claim;
         C.       Advertising means promotional material (including branding, co-branding, sponsorships and
                  endorsements), publicly disseminated on behalf of the Insured.
         D.       Advertising Services means promotional material (including branding, co-branding, sponsorships and
                  endorsements), publicly disseminated by the Insured on behalf of others.
         E.       Application means all applications, including any attachments thereto, and all other information and
                  materials submitted by or on behalf of the Insureds to the Insurer in connection with the Insurer
                  underwriting this Policy. All such applications, attachments, information and materials are deemed
                  attached to and incorporated into this Policy
         F.       Assumed Under Contract means:
                  1. liability arising from Wrongful Acts which is assumed by the Named Insured in a written hold
                     harmless or indemnity agreement executed with any third party prior to the commission of the
                     Wrongful Act at issue, but only with respect to Content provided by the Named Insured or by
                     another person or entity with the Named Insured’s prior written permission, and where such third
                     party with whom the Named Insured has entered into such hold harmless or indemnity agreement
                     has no common ownership interest or other affiliation with the Named Insured; or



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                  2. liability arising from a written contract or agreement whereby the Named Insured or a Subsidiary
                     has agreed in writing to provide insurance under this Policy, but only if (a) the contract or agreement
                     was executed prior to the commission of the Wrongful Act at issue, and (b) the Wrongful Act was
                     for or on behalf of, and was previously authorized by, the Named Insured or a Subsidiary.
         G.       Bodily Injury means injury to the body, sickness, or disease, and death. Bodily Injury also means
                  mental injury, mental anguish, mental tension, emotional distress, pain and suffering, or shock, whether
                  or not resulting from injury to the body, sickness, disease or death of any person.
                  However, Bodily Injury does not mean mental injury, mental anguish, mental tension, emotional distress,
                  pain and suffering, or shock resulting from a Wrongful Act for which coverage is provided under Section
                  I, Insuring Agreements B or D.
         H.       Claim means:
                  1. with respect to Insuring Agreements A, B, C, and D:
                      a. a written demand against any Insured for monetary or non-monetary damages;
                      b. a civil proceeding against any Insured seeking monetary damages or non-monetary or injunctive
                         relief, commenced by the service of a complaint or similar pleading; or
                      c.   an arbitration proceeding against any Insured seeking monetary damages or non-monetary or
                           injunctive relief;
                  2. also, with respect to Insuring Agreements C and D only, a Regulatory Proceeding;
                  3. with respect to Insuring Agreement E, a written report by the Insured to the Insurer of a failure by the
                     Insured or by an independent contractor for which the Insured is legally responsible to properly
                     handle, manage, store, destroy or otherwise control Personal Information;
                  including any appeal therefrom.
         I.       Claims Expenses means:
                  1. reasonable and necessary attorneys’ fees, expert witness fees and other fees and costs incurred by
                     the Insurer, or by the Insured with the Insurer’s prior written consent (which consent shall not be
                     unreasonably withheld), in the investigation and defense of a covered Claim (including but not limited
                     to rectification costs under Insuring Agreement B as outlined in Section VIII, Notice, below); and
                  2. reasonable and necessary premiums for any appeal bond, attachment bond or similar bond, provided
                     the Insurer shall have no obligation to apply for or furnish such bond;
                  Solely with respect to Insuring Agreement B, Claims Expenses shall also include reasonable and
                  necessary attorney fees incurred by the Insured to prosecute a declaratory relief action in response to a
                  covered Claim alleging copyright or trademark infringement. Claims Expenses shall not include wages,
                  salaries, fees or costs of directors, officers or employees of the Insurer or the Insured.
         J.       Computer System means computer hardware, software, firmware, and the data stored thereon, as well
                  as associated input and output devices, data storage devices, networking equipment and Storage Area
                  Network or other electronic data backup facilities.
         K.       Consumer Redress Fund means a sum of money which the Insured is legally obligated to deposit in a
                  fund as equitable relief for the payment of consumer claims due to an adverse judgment or settlement of
                  a Regulatory Proceeding. Consumer Redress Fund shall not include any sums paid which constitute
                  taxes, fines, penalties, injunctions or sanctions.
         L.       Content means any and all media in all forms and formats in every kind of character in any medium of
                  expression as now exists or may hereafter exist.
         M.       Control Group means the Named Insured’s Vice President of Risk Management, Senior Vice President
                  Deputy General Counsel – Litigation and Employment, or Chief Information Security Officer (or the
                  functional equivalent of such positions)
         N.       Damages means compensatory damages, any award of prejudgment or post-judgment interest, and
                  settlements which the Insured becomes legally obligated to pay on account of any Claim first made
                  against any Insured during the Policy Period or, if elected, the Extended Reporting Period, for
                  Wrongful Acts to which this Policy applies. Damages shall not include:


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                       1. any amount for which the Insured is not financially liable or legally obligated to pay;
                       2. matters uninsurable under the laws pursuant to which this Policy is construed;
                       3. (except to the extent specifically permitted in this definition below, and subject to the applicable
                          separate Retention referenced) the cost to comply with any injunctive or other non-monetary or
                          declaratory relief, including specific performance, or any agreement to provide such relief;
                       4. loss of fees or profits by the Insured, return of fees, commissions or royalties by the Insured, or
                          re-performance of services by the Insured or under the Insured’s supervision;
                       5. disgorgement of any profit, remuneration or financial advantage to which any Insured was not
                          legally entitled;
                       6. Data Breach Expenses or any other forensic, notification, crisis management or credit
                          monitoring expenses, unless such expenses constitute compensatory damages of a direct
                          settlement with the injured natural persons of a Claim for a Wrongful Act as defined in
                          subparagraph 4.a.i of the definition of Wrongful Act;
                       7. liquidated damages pursuant to a contract, unless, even in the absence of such contract, the
                          Insured would be liable for such damages as result of a Wrongful Act;
                       8. penalties of any nature, however denominated, arising by contract; and
                       9. any amounts other than those which compensate solely for a loss caused by a Wrongful Act.
                  Damages includes:
                  a.       multiple, punitive and exemplary damages to the extent such damages are insurable under the
                           internal laws of the applicable jurisdiction that most favors coverage for such Damages.
                  b.       taxes, fines, penalties and sanctions, if legally insurable;
                  c.       in the event a court issues an injunction or order enjoining the manufacture, duplication,
                           reproduction of copies, distribution, performance, exhibition, publication, transmission,
                           communication by any means whatsoever now or hereafter known of the products and/or
                           services of the Insured, whether in whole or in part:
                           a) the direct and out of pocket costs of: i) releases, prints, tapes or other copies; ii) advertising
                              and promotion materials, and iii) other products and materials of the Insured, but only to the
                              extent that the value thereof is destroyed or lessened as a result of any such injunction or
                              court order:
                           b) liability of the Insured under contract for the manufacture, duplication, reproduction of copies,
                              distribution, performance, exhibition, publication, transmission or communication by any
                              means whatsoever of the products or services of the Insured to reimburse the other party to
                              such contracts for its losses resulting from such injunction or court order.
                  Further, the Damages referenced in c.a) and c.b) directly above shall be subject to a separate Injunctive
                  Relief Retention as stated in Item 5 of the Declarations.
                  Notwithstanding the foregoing, Damages shall not include production costs and loss of profits of the
                  Insured. If the Insurer does not post a bond to release an injunction, the Insured, after consultation with
                  the Insurer, may post such a bond at its own expense, in which case the Insurer agrees that it will
                  reimburse the Insured for the premium on such bond in the event that a final judgment is entered in favor
                  of the Insured.
                  If prior to the issuance of an injunction or court order the Insured elects, in good faith and with the
                  consent of the Insurer (not to be unreasonably withheld), to withdraw from or forego distribution,
                  performance, use, exhibition, exploitation, publication, transmission or communication of the products
                  and/or services of the Insured under circumstances where there exists a substantial possibility that an
                  injunction would be issued if such action were not taken, then the above provisions relating to injunctive
                  relief shall apply as if such an injunction or court order had been issued on the date such election was
                  made.
                  Further Damages, Claims Expenses, and Loss shall not mean, and this Insuring Agreement will not
                  cover:


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                  i.    production costs, loss of profits, or the cost of recall, return, reproduction, reprinting or correction of
                        Matter by the Insured, any additional insured or ay indemnitee afforded coverage under this Insuring
                        Agreement, except as provided in paragraph II.N.1.c. above, and in paragraphs 2i and 2ii of the
                        definition of Claims Expenses applicable to Insuring Agreement 1.

                  ii.   fines and penalties, including governmental or criminal fines or penalties, or fines and penalties by
                        ASCAP, SESAC, BMI or other music licensing organizations; and

                  iii. any Insured’s fees or compensation paid to the Insured.

                  With respect to Insuring Agreements C and D only, Damages also includes a Consumer Redress Fund
                  and Regulatory Fines.
         O.       Data Breach Expenses means those reasonable and necessary expenses incurred by the Insured or
                  which the Insured becomes legally obligated to pay:
                  1. to retain third party computer forensics services to determine the scope of a failure of Network
                     Security;
                  2. to comply with Privacy Regulations, including but not limited to the consumer notification provisions
                     of Privacy Regulations of the applicable jurisdiction that most favors coverage for such expenses;
                  3. with the Insurer’s prior written consent (which consent shall not be unreasonably withheld), to
                     voluntarily notify individuals whose Personal Information has been wrongfully disclosed;
                  4. in retaining the services of a public relations firm, crisis management firm or law firm for advertising or
                     related communications solely for the purpose of protecting or restoring the Insured’s reputation as a
                     result of a Wrongful Act;
                  5. to retain the services of a law firm solely to determine the Insured’s indemnification rights under a
                     written agreement with an independent contractor with respect to a Wrongful Act expressly covered
                     under Insuring Agreement D of this Policy and actually or allegedly committed by such contractor;
                     and
                  6. with the Insurer’s prior written consent (which consent shall not be unreasonably withheld), for credit
                     monitoring services.
         P.       Domestic Partner means any natural person qualifying as a domestic partner under the provisions of
                  any applicable federal, state or local law or under the provisions of any formal program established by the
                  Insured.
         Q.       Extended Reporting Period means the period(s) for the extension of coverage, if applicable, described
                  in Section V, Extended Reporting Periods.
         R.       Insured means:
                  1. The Named Insured;
                  2. Subsidiaries of the Named Insured, but only with respect to Wrongful Acts which occur while they
                     are a Subsidiary;
                  3. any past, present or future principal, partner, officer, director, trustee, employee, leased employee or
                     temporary employee of the Named Insured or Subsidiary, but only with respect to the commission
                     of a Wrongful Act committed within the scope of such person’s duties performed on behalf of the
                     Named Insured or Subsidiary; and
                  4. independent contractors of the Named Insured or of a Subsidiary who are natural persons, but only
                     with respect to the commission of a Wrongful Act within the scope of such person’s duties performed
                     on behalf of the Named Insured or Subsidiary.
         S.       Insured’s Computer System means a Computer System:
                  1. leased, owned, or operated by the Insured; or
                  2. operated for the benefit of the Insured by a third party service provider under written contract with the
                     Insured.
         T.       Insurer means the insurance company providing this insurance.
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         U.       Internet means the worldwide public network of computers which enables the transmission of electronic
                  data and which includes intranets, extranets and virtual private networks.
         V.       Interrelated Wrongful Acts means all Wrongful Acts that have as a common nexus any fact, situation,
                  event, transaction, cause or series of related facts, situations, events, transactions or causes.
         W.       Media Activities means the researching, development, designing, assembling, manufacturing, printing,
                  preparation, packaging, preparation, creation, conception, acquisition, preproduction, production,
                  distribution, sale, licensing, authorization, publication, republication, serialization, licensing, syndication,
                  performance, telecasting, broadcasting and exhibition of the following:

                  1.       theatrical, television and other motion pictures; programs; audio and/or video productions;
                           live, recorded, filmed or taped television and radio programs; documentary, industrial,
                           commercial, educational, promotional, charitable, institutional or other forms of programming
                           or activities; stage presentations or plays; scripts, stories, articles, newsletters, brochures,
                           literary or other printed works or publications; commercials; commercial films; phonograph
                           records, CD’s, DVD’s, video games, tapes, games, contests; informational or instructional
                           material; multimedia productions; music in sheet or any other form; musical concerts,
                           performances, musical tours, music videos, music publishing or recording or other musical
                           activities, and all other Content in any medium of expression as now exists or may hereafter
                           exist and utilizing all technologies, including without limitation books, magazines and other
                           printed works, film, photographic and other similar materials, CD-ROM, electronic, magnetic,
                           digital, analog, laser and/or optical based or interactive media, discs, digital or other video
                           discs, computer generated or stored data, images, programming, electric transcriptions,
                           computer and mobile applications, video and/or audio cassettes, and other related activities
                           in the field of entertainment in media, including such entertainment in media relating to Walt
                           Disney Parks or Resorts;
                  2.       direct marketing and merchandising and retail activities;
                  3.       news gathering, news programming, and news distribution of informational content,
                           programming or materials;
                  4.       retail activities or restaurants;
                  5.       theme and hard ride parks, indoor and outdoor recreational facilities and location-based
                           entertainment facilities, amphitheater I and other live entertainment activities and facilities,
                           virtual reality stations or other forms of entertainment, sports, recreational or leisure time
                           activities;
                  6.       sports teams;
                  7.       display of Content, including Advertising and Advertising Services, on the Insured’s
                           Website;
                  8.       ownership and/or operation of television and radio and television broadcasting transmission
                           and receiving facilities; channels; stations and networks; free, basic cable, premium, pay-per-
                           view, and satellite networks and services; online services; web sites; interactive cable;
                           interactive video, transmission via satellite, cable, telephone or any other means;
                  9.       interactive services, internet technologies and e-commerce services;
                  10.      packaging including folding cartons and point purchase displays, signage and media-related
                           project management;
                  11.      any other business in which the Named Insured and its Subsidiaries, as a conglomerate in the
                           field of entertainment is or becomes engaged; or
                  12.      the Advertising, marketing, and publicizing of everything above.



         X.       Mediation means a non-binding process in which a neutral panel or individual assists the parties in
                  reaching a settlement agreement. To be considered Mediation under this Policy, the process must be as
                  set forth in the Commercial Mediation Rules of the American Arbitration Association, or such other
                  process as the Insurer may, at its sole option, approve.
         Y.       Multimedia Act means any:
                1. intellectual property infringement (but not any patent infringement or trade secret misappropriation),
                   including but not limited to copyright infringement, trademark infringement, trademark dilution, trade
                   dress infringement, trade name or service mark infringement; publicity rights violations, music rights
                   violation, cybersquatting violations, moral rights violations, any act of passing-off, plagiarism, piracy or
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                    any misappropriation of formats, ideas, characters, trade names, character names, titles, plots, musical
                    compositions, performances, voices, merchandising, slogans, graphic material, images, designs,
                    photographs, program materials or artwork, as well the violation of droit moral rights associated with
                    such intellectual property;

                2. breach of an agreement you have entered into to use a third party’s copyrighted material, but only to
                   the extent your use inadvertently exceeds express limitations in the agreement regarding the nature or
                   scope of the authorized use of that copyrighted material and only if such breach is asserted in
                   conjunction with and based on the same factual allegations as a claim under a. above;

                3. breach of any express or implied contract arising out of the alleged submission by someone who is not
                   an Insured of any material, idea or process (including any newsworthy, literary, dramatic, musical,
                   audio, audiovisual, visual or other similar or analogous material or process used by the Insured or
                   others), or breach of trust or confidence arising out of such submission;

                4. defamation or harm to the character or reputation of any person or entity including but not limited to
                   libel, slander, trade libel, product disparagement or injurious falsehood and emotional distress or
                   outrage to the extent it is based on harm to character or reputation;

                5. breach of any duty of confidentiality, invasion or interference with the rights of privacy or publicity, or
                   violation of any other legal protections for personal information, including but not limited to false light,
                   intrusion upon a person’s seclusion, public disclosure of a person’s private information,
                   misappropriation of a person’s picture, name, voice, likeness or identity or unauthorized interception or
                   recording of images or sound in violation of any civil anti-wiretap statute;

                6. promissory estoppel or unintentional breach of contract brought by your newsgathering source, but only
                   to the extent such count(s) directly stem from your promise to protect the anonymity of that source or
                   concerning restrictions on the use of information supplied to you by that source;

                7. failure to give credit or attribution of authorship in accordance with any agreement to which you are a
                   bound signatory, or in connection with material or services furnished to the Insured by others;

                8. unfair competition, deceptive business practices, or false designation of origin, but only when asserted
                   in conjunction with and based on the same factual allegations as a claim under a., b., c., or d. above;

                9. negligence or breach of any duty to use reasonable care, including but not limited to negligent
                   transmission of a computer virus, worm, logic bomb or Trojan horse or negligence in connection with a
                   denial of service attack, or negligent misrepresentation but only if arising out of your content in any
                   media; or

               10. trespass, false arrest, unlawful detention or imprisonment, wrongful entry or eviction, malicious
                   prosecution, unlawful eavesdropping or other invasion of the right of private occupancy;

               11. the unintentional breach of an agreement not to reveal the identity of a news source, but only if such
                   revelation is made in order to comply with a court order or legal requirement imposed by the
                   government;

         Z.       Named Insured means the organization or natural person first specified in Item 1 of the Declarations.
         AA.      Network Security means those activities performed by the Insured, or by others on behalf of the
                  Insured, to protect against unauthorized access to, unauthorized use of, a denial of service attack by a
                  third party directed against, an Act of Cyberterrorism expressly directed against, or transmission of
                  unauthorized, corrupting or harmful software code to, the Insured's Computer System
         BB.      Personal Information means:
                  1. an individual’s name, social security number, medical or healthcare data, other protected health
                     information, drivers license number, state identification number, credit card number, debit card
                     number, address, zip code, telephone number, account number, account histories, or passwords; or
                  2. other nonpublic personal information as defined in Privacy Regulations;

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                  in any format. Personal Information shall not include information that is lawfully made available to the
                  general public for any reason, including but not limited to information from federal, state or local
                  government records.
         CC.      Personal Injury means injury arising out of one or more of the following offenses:
                  1. false arrest, detention or imprisonment;
                  2. malicious prosecution;
                  3. libel, slander, or other defamatory or disparaging material;
                  4. publication or an utterance in violation of an individual’s right to privacy; and
                  5. wrongful entry or eviction, or other invasion of the right to private occupancy.
         DD.      Policy means, collectively, the Declarations, Application, this policy form and any endorsements.
         EE.      Policy Period means the period of time specified in Item 2 of the Declarations, subject to prior
                  termination pursuant to Section XIV, Termination of the Policy.
         FF.      Pollutants means any substance exhibiting any hazardous characteristics as defined by, or identified on
                  a list of hazardous substances issued by the United States Environmental Protection Agency or any
                  federal, state, county, municipal or local counterpart thereof or any foreign equivalent. Such substances
                  shall include, without limitation, solids, liquids, gaseous or thermal irritants, contaminants or smoke,
                  vapor, soot, fumes, acids, alkalis, chemicals or waste materials, including materials to be recycled,
                  reconditioned, or reclaimed. Pollutants shall also mean any other air emission, odor, waste water, oil or
                  oil products, infectious or medical waste, asbestos or asbestos products, noise, fungus (including mold or
                  mildew and any mycotoxins, spores, scents or byproducts produced or released by fungi, but does not
                  include any fungi intended by the Insured for consumption) and electric or magnetic or electromagnetic
                  field.
         GG.      Privacy Regulations means the following statutes and regulations associated with the control and use of
                  personally identifiable financial, medical or other sensitive information:
                  1. Health Insurance Portability and Accountability Act of 1996 (Public Law 104-191) and Health
                     Information Technology for Economic and Clinical Health Act;
                  2. the Minnesota Plastic Card Security Act;
                  3. Gramm-Leach-Bliley Act of 1999;
                  4. the California Security Breach Notification Act (CA SB 1386) and Massachusetts 201 CMR 17;
                  5. Identity Theft Red Flags under the Fair and Accurate Credit Transactions Act of 2003;
                  6. Section 5(a) of the Federal Trade Commission Act, 15 U.S.C. § 45(a), but solely for alleged violations
                     of unfair or deceptive acts or practices in or affecting commerce; and
                  7. other similar state, federal, and foreign identity theft and privacy protection legislation that requires
                     commercial entities that collect Personal Information to post privacy policies, adopt specific privacy
                     or security controls, or notify individuals in the event that Personal Information has potentially been
                     compromised.
         HH.      Property Damage means:
                  1. physical injury to, or loss or destruction of, tangible property, including the loss of use thereof; and
                  2. loss of use of tangible property which has not been physically injured, lost, damaged or destroyed.
                  However, Property Damage does not mean physical injury to, loss or destruction of, or loss of use of
                  intangible property, including data.
         II.      Regulatory Fines means any civil monetary fine or penalty imposed by a federal, state, local or foreign
                  governmental entity in such entity’s regulatory or official capacity pursuant to its order under a
                  Regulatory Proceeding. Regulatory Fines shall not include any criminal fines, disgorgement of profits,
                  multiple damages or civil monetary fines or penalties that are not insurable by law.
         JJ.      Regulatory Proceeding means a request for information, demand, suit, civil investigation or civil
                  proceeding by or on behalf of a government agency, commenced by a service of a complaint or similar
                  pleading and alleging the violation of Privacy Regulations as a result of the Insured’s Wrongful Act,
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                  and which may reasonably be expected to give rise to a covered Claim under Insuring Agreements C or
                  D of this Policy.
         KK.      Retroactive Date means the date specified in Item 10 of the Declarations for the applicable Insuring
                  Agreement.
         LL.      Subsidiary means any entity of which the Named Insured owns or has the right to vote more than 50%
                  of the outstanding voting securities representing the present right to vote for election of directors, or the
                  managers or members of the board of managers or equivalent executives of a limited liability company,
                  on or before the inception date of the Policy, either directly or indirectly, in any combination, by one or
                  more other Subsidiaries. Subsidiary also means partnerships or joint ventures that do not meet the
                  above 50% threshold, but coverage for such Subsidiaries shall be limited to the percentage of the
                  Named Insured’s ownership interest in such partnership or joint venture.
         MM.      Technology Products means computer or telecommunications hardware, software, firmware, or related
                  electronic equipment, including the design, development, manufacturing, assembly, distribution, licensing,
                  leasing, sale, installation, repair or maintenance thereof.
         NN.      Technology Services means:
                  1. information technology consulting and information systems or network analysis, design, programming
                     or integration;
                  2. database design and the caching, collecting, compiling, processing, mining, or recording or analysis
                     of data; and
                  3. other related services, including:
                      a. information system outsourcing;
                      b. Website design, programming or maintenance;
                      c.   information system or Website hosting;
                      d. Internet access services;
                      e. Internet search or navigational tool provision;
                      f.   electronic mail services;
                      g. electronic data destruction services; and
                      h. application software services delivery.
         OO.      Trade Secret means information, including a formula, pattern, compilation, program, device, method,
                  technique or process, that derives independent economic value, actual or potential, from not being
                  generally known to or readily ascertainable by other persons who can obtain value from its disclosure or
                  use, so long as reasonable efforts have been made to maintain its secrecy.
         PP.      Website means the software, content and other materials accessible via the Internet at a designated
                  Uniform Resource Locator address.
         QQ.      Wrongful Act means any error, misstatement, misleading statement, act, omission, neglect, breach of
                  duty, or Personal Injury offense actually or allegedly committed or attempted by: i) under all Insuring
                  Agreements, any Insured in their capacity as such, and ii) additionally, under Insuring Agreement D, by
                  any independent contractor for which the Insured is legally responsible:
                  1. With respect only to Insuring Agreement A, in:
                      a. the Insured’s rendering or failure to render Technology Services to others for a fee or other
                         consideration, or
                      b. the failure of the Insured’s Technology Products to perform the function or serve the purpose
                         intended.
                  2. With respect only to Insuring Agreement B, a Multimedia Act in the rendering of Media Activities.

                  3. With respect only to Insuring Agreement C, resulting in a failure of Network Security.
                  4. With respect only to Insuring Agreement D, in:

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                      a. the failure by the Insured or by an independent contractor for which the Insured is legally
                         responsible to properly handle, manage, store, destroy or otherwise control:
                           i.    Personal Information; or
                           ii.   third party corporate information in any format provided to the Insured and specifically
                                 identified as confidential and protected under a nondisclosure agreement or similar contract
                                 with the Named Insured or Subsidiary; or
                      b. an unintentional violation of the Insured’s privacy policy that results in the violation of any
                         Privacy Regulation.
                  5. With respect only to Insuring Agreement E, in the failure by the Insured or by an independent
                     contractor for which the Insured is legally responsible to properly handle, manage, store, destroy or
                     otherwise control Personal Information.
         RR.      Wrongful Employment Practices means any actual or alleged:
                  1. wrongful dismissal or discharge or termination of employment, whether actual or constructive;
                  2. employment-related misrepresentation;
                  3. violation of any federal, state, or local laws (whether common or statutory) concerning employment or
                     discrimination in employment;
                  4. sexual harassment or other unlawful workplace harassment;
                  5. wrongful deprivation of a career opportunity or failure to employ or promote;
                  6. wrongful discipline of employees;
                  7. retaliation against employees for the exercise of any legally protected right or for engaging in any
                     legally protected activity;
                  8. negligent evaluation of employees;
                  9. failure to adopt adequate workplace or employment policies and procedures;
                  10. employment-related libel, slander, or defamation;
                  11. employment-related invasion of privacy, except with respect to that part of any Claim arising out of
                      the loss of Personal Information which is otherwise covered under Insuring Agreement D of this
                      Policy;
                  12. employment-related wrongful infliction of emotional distress, except with respect to that part of any
                      Claim arising out of the loss of Personal Information which is otherwise covered under Insuring
                      Agreement D of this Policy; and
                  13. any actual or alleged discrimination, sexual harassment, or violation of a natural person’s civil rights
                      relating to such discrimination or sexual harassment, whether direct, indirect, intentional or
                      unintentional.
         The foregoing definitions shall apply equally to the singular and plural forms of the respective words.
III.     EXCLUSIONS
         The Insurer shall not be liable for Damages, Claims Expenses, or Data Breach Expenses on account of any
         Claim:
         A.       alleging, based upon, arising out of or attributable to any dishonest, fraudulent, criminal, malicious or
                  intentional act, error or omission, or any intentional or knowing violation of the law by an Insured.
                  However, this exclusion shall not apply to Claims Expenses or the Insurer’s duty to defend any such
                  Claim until there is a final judgment against the Insured as to such conduct, at which time the Insured
                  shall reimburse the Insurer for any Claims Expenses paid by the Insurer. Only facts pertaining to and
                  knowledge possessed by any member of the Control Group shall be imputed to any other member of the
                  Control Group or to the Named Insured or a Subsidiary.




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                  Notwithstanding the foregoing, solely with respect to Insuring Agreement B, this exclusion shall not bar
                  coverage for any Claim which otherwise is covered by this Policy to the extent that:
                  1. prior to the date the Insured engaged in such excluded conduct, the Insured had received from its
                     outside legal counsel a written opinion and authorization stating that based on counsel’s good faith
                     and reasonable legal evaluation and analysis of the existing law, counsel has concluded that such
                     conduct was legal under and protected by the First Amendment of the United States Constitution or
                     any similar provision of a State Constitution protecting freedom of speech or freedom of the press;
                     and
                  2. the Claim alleges actual malice, as defined by the law, in conjunction with allegations of defamation,
                     libel or slander of a public person, as defined by the law.
         B.       for Bodily Injury or Property Damage;
         C.       for breach of any express, implied, actual or constructive contract, warranty, guarantee, or promise,
                  including any actual or alleged liability assumed by the Insured, unless: 1) such liability would have
                  attached to the Insured even in the absence of such contract, warranty, guarantee, or promise; or 2) with
                  respect to Insuring Agreement B, such liability is Assumed Under Contract. This exclusion will not apply
                  to that part of a Claim alleging the unintentional failure to perform Technology Services with a
                  reasonable standard of care and consistent with industry standards. Further, this exclusion shall not
                  apply to that portion of any Claim alleging a Wrongful Act as set forth in numbered paragraph 4,
                  subparagraph a.ii, or a Multimedia Act as set forth in numbered paragraphs 2, 3, and 11, to the extent
                  explicitly covered therein.
         D.       alleging, based upon, arising out of or attributable to the provision of Technology Services, Media
                  Activities or Technology Products for any entity if at the time these services were performed or
                  products provided:
                  1. any Insured, or any other natural person or entity for whom or which an Insured is legally liable, was
                     a principal, partner, director, or officer of such entity; or
                  2. any Insured, or any other natural person or entity for whom or which an Insured is legally liable,
                     owned, directly or indirectly, 10% or more of any such entity if it was a publicly held company, or 30%
                     or more of any such entity if it was a privately held company.
         E.       brought or maintained by, on behalf of, or in the right of any Insured, or any other natural person or entity
                  for whom or which an Insured is legally liable. However, this exclusion shall not apply to Wrongful Acts
                  expressly covered under Section I, Insuring Agreement D, or to Claims asserted by Additional Insureds
                  in their capacity as customers or clients of an Insured.
         F.       alleging, based upon, arising out of or attributable to any:
                  1. illegal discrimination of any kind;
                  2. humiliation, harassment or misconduct based upon, arising out of or related to any such
                     discrimination;
                  3. Wrongful Employment Practices.
         G.       alleging, based upon, arising out of or attributable to any price fixing, restraint of trade, monopolization,
                  unfair trade practices or other violation of the Federal Trade Commission Act, the Sherman Anti-Trust Act,
                  the Clayton Act, or any other federal statutory provision involving antitrust, monopoly, price fixing, price
                  discrimination, predatory pricing or restraint of trade activities, and any amendments thereto or any rules
                  or regulations promulgated thereunder or in connection with such statutes, or any similar provision of any
                  federal, state, or local statutory law or common law anywhere in the world. However, solely with respect
                  to a Wrongful Act expressly covered under Insuring Agreements C or D, this exclusion shall not apply to
                  a Regulatory Proceeding or Consumer Redress Fund for that portion of Damages or Claims
                  Expenses allocated to numbered paragraph 5 of the definition of Privacy Regulations. Further, solely
                  with respect to Insuring Agreement B, this exclusion shall not apply to an otherwise covered Claim
                  alleging: a) common law unfair competition based on conduct identified in numbered paragraphs 2a, 2d,
                  2e, and 2j of the definition of Wrongful Act, or b) deceptive or unfair business practices arising from a
                  Wrongful Act involving the Insured’s gathering or collection of Content.
         H.       alleging, based upon, arising out of or attributable to the violation of:
                  1. the Employee Retirement Income Security Act of 1974, as amended;

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                  2. the Securities Act of 1933, the Securities Exchange Act of 1934, the Investment Company Act of
                     1940, the Investment Advisors Act, or any other federal, state or local securities law,
                  any rules or regulations promulgated thereunder, amendments thereof, or any similar federal, state or
                  common law.
         I.       alleging, based upon, arising out of or attributable to the gaining in fact of any profit, remuneration or
                  financial advantage to which any Insured was not legally entitled. However, this exclusion shall not apply
                  to Claims Expenses or the Insurer’s duty to defend any such Claim until there is a final judgment
                  against the Insured as to such conduct, at which time the Insured shall reimburse the Insurer for any
                  Claims Expenses paid by the Insurer. Only facts pertaining to and knowledge possessed by any
                  member of the Control Group shall be imputed to any other member of the Control Group or to the
                  Named Insured or a Subsidiary.
         J.       for any fees, expenses, or costs paid to or charged by the Insured.
         K.       alleging, based upon, arising out of or attributable to a Wrongful Act committed prior to the beginning of
                  the Policy Period if, on or before the earlier of the effective date of this Policy or the effective date of any
                  Policy issued by the Insurer of which this Policy is a continuous renewal or a replacement, the Named
                  Insured’s Vice President of Risk Management, Senior Vice President Deputy General Counsel –
                  Litigation and Employment, or Chief Information Security Officer (or the functional equivalent of such
                  positions) knew or reasonably could have foreseen that the Wrongful Act did or could lead to a Claim.
         L.       alleging, based upon, arising out of, or attributable to:
                  1. any prior or pending litigation, Claims, demands, arbitration, administrative or regulatory proceeding
                     or investigation filed or commenced on or before the earlier of the effective date of this Policy or the
                     effective date of any policy issued by the Insurer of which this Policy is a continuous renewal or a
                     replacement, or alleging or derived from the same or substantially the same fact, circumstance or
                     situation underlying or alleged therein; or
                  2. any other Wrongful Act whenever occurring which, together with a Wrongful Act underlying or
                     alleged therein would constitute Interrelated Wrongful Acts.
         M.       alleging, based upon, arising out of, or attributable to:
                   1. any Wrongful Act, fact, circumstance or situation which has been the subject of any written notice
                       given under any other professional liability/errors and omissions policy (excluding any policy solely
                       insuring the Insured’s retention) before the effective date of this Policy, provided that the insurer of
                       such other policy does not challenge such notice on the grounds that it was not in compliance with
                       such policy’s claim or wrongful act notice provisions or
                   2. any other Wrongful Act whenever occurring which, together with a Wrongful Act which has been
                       the subject of such notice, would constitute Interrelated Wrongful Acts.
         N.       alleging, based upon, arising out of or attributable to:
                  1. the actual, alleged or threatened discharge, dispersal, release, escape, seepage, migration or
                     disposal of Pollutants; or
                  2. any direction or request that any Insured test for, monitor, clean up, remove, contain, treat, detoxify
                     or neutralize Pollutants, or any voluntary decision to do so.
         O.       alleging, based upon, arising out of or attributable to any electrical or mechanical failures or interruption,
                  including but not limited to any electrical disturbance, surge, spike, brownout or blackout, and outages to
                  gas, water, telephone, cable, satellite, telecommunications or other infrastructure. However, this
                  exclusion shall not apply to failures, interruptions, disturbances or outages of telephone, cable or
                  telecommunications infrastructure under the Insured’s operational control which are a result of the
                  Insured’s Wrongful Act.
         P.       alleging, based upon, arising out of or attributable to any failure, interruption, or outage to Internet access
                  service provided by the Internet service provider that hosts the Insured’s Website, unless such
                  infrastructure is under the Insured’s operational control.
         Q.       alleging, based upon, arising out of or attributable to the inaccurate, inadequate, or incomplete description
                  of the price of goods, products or services, the disclosure of fees, the failure to meet deadlines, or as a
                  result of the Insured’s cost guarantees, cost representations, contract price, pricing guarantees or

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                  estimates of probable costs or cost estimates being exceeded, or any guarantee or promise of costs
                  savings, return on investment, or profitability.
         R.       alleging, based upon, arising out of or attributable to fire, smoke, explosion, lightning, wind, flood,
                  earthquake, volcanic eruption, tidal wave, landslide, hail, act of God or any other physical event, however
                  caused.
         S.       alleging, based upon, arising out of or attributable to war, invasion, acts of foreign enemies, hostilities or
                  warlike operations (whether war is declared or not), strike, lock-out, riot, civil war, rebellion, revolution,
                  insurrection, civil commotion assuming the proportions of or amounting to an uprising, military or usurped
                  power, provided however, with respect to Insuring Agreement C, this exclusion shall not apply to an Act
                  of Cyberterrorism.
         T.       alleging, based upon, arising out of or attributable to any costs or expenses incurred by any Insured or
                  others to recall, repair, replace, upgrade, supplement or remove the Insured’s products, including
                  products which incorporate the Insured’s products or services from the marketplace.
         U.       alleging, based upon, arising out of or attributable to the manufacturing, mining, use, sale, installation,
                  removal, distribution of or exposure to asbestos, materials or products containing asbestos, asbestos
                  fibers or dust.
         V.       alleging, based upon, arising out of or attributable to the planning, construction, maintenance, operation
                  or use of any nuclear reactor, nuclear waste, storage or disposal site, or any other nuclear facility; the
                  transportation of nuclear material, or any nuclear reaction or radiation, or radioactive contamination,
                  regardless of its cause.
         W.       alleging, based upon, arising out of or attributable to false or deceptive advertising or any false or
                  deceptive promotion of an Insured’s products or services. However, this exclusion shall not apply to
                  Claims Expenses to defend any such Claim until there is a final judgment against the Insured as to
                  such conduct, at which time the Insured shall reimburse the Insurer for any Claims Expenses paid by
                  the Insurer. Further, with respect to a Wrongful Act expressly covered under Insuring Agreements C or
                  D, this exclusion shall not apply to a Regulatory Proceeding or Consumer Redress Fund for that
                  portion of Damages or Claims Expenses allocated to numbered paragraph 6 of the definition of Privacy
                  Regulations. Further, this exclusion shall not apply to that portion of any otherwise covered Claim
                  alleging a) common law unfair competition based on the conduct identified in numbered paragraphs 3, 4,
                  or 5 of the definition of Multimedia Act, or b) deceptive or unfair business practices arising from a
                  Multimedia Act involving the Insured’s gathering or collection of Content.
         X.       alleging, based upon, arising out of or attributable to false, deceptive or unfair business practices or any
                  violation of consumer protection laws. However, with respect to a Wrongful Act expressly covered under
                  Insuring Agreements C or D, this exclusion shall not apply to a Regulatory Proceeding or Consumer
                  Redress Fund for that portion of Damages or Claims Expenses allocated to numbered paragraph 6 of
                  the definition of Privacy Regulations.
         Y.       alleging, based upon, arising out of or attributable to any validity, invalidity, infringement, violation or
                  misappropriation of any patent or Trade Secret by or on behalf of the Insured.
         Z.       alleging, based upon, arising out of or attributable to any validity, invalidity, infringement, violation or
                  misappropriation of any copyright, service mark, trade name, trademark or other intellectual property
                  (other than patent or Trade Secret) of any third party. However, this exclusion shall not apply to Section I,
                  Insuring Agreements A or B.
         AA.      alleging, based upon, arising out of or attributable to, with respect to Insuring Agreement B, the failure of
                  any goods or services to conform with the standards of quality or performance.
         BB.      for any unsolicited electronic dissemination of faxes, e-mails or other communications by or on behalf of
                  the Insured to multiple actual or prospective customers of the Insured or any other third party, including
                  but not limited to actions brought under the Telephone Consumer Protection Act, any federal or state anti-
                  spam statutes, and/or any other federal or state statute, law or regulation relating to a person’s or entity’s
                  right of seclusion. However, with respect to a Wrongful Act expressly covered under Insuring
                  Agreement C, this exclusion shall not apply.
         CC.      alleging, based upon, arising out of or attributable to any action brought by or on behalf of the Federal
                  Trade Commission, the Federal Communications Commission, or any other federal, state, or local
                  government agency or ASCAP, SESAC, BMI or other licensing or rights organizations in such entity’s

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                  regulatory, quasi-regulatory, or official capacity, function or duty. However, with respect to a Wrongful
                  Act expressly covered under Insuring Agreements C or D, this exclusion shall not apply.
         DD.      alleging, based upon, arising out of or attributable to the failure of any digital rights management software
                  or other copy protection mechanism incorporated into the Insured’s Technology Products.
         EE.      alleging, based upon, arising out of or attributable to the unauthorized or surreptitious collection of
                  Personal Information by the Insured or the failure to provide adequate notice that such information is
                  being collected. Solely with respect to the applicability of this exclusion under Insuring Agreements C and
                  D, only facts pertaining to and knowledge possessed by any member of the Control Group shall be
                  imputed to any other member of the Control Group or to the Named Insured or a Subsidiary.
         FF.      alleging, based upon, arising out of or attributable to the Insured’s intentional failure to disclose the loss
                  of Personal Information in violation of any law or regulation. Solely with respect to the applicability of
                  this exclusion under Insuring Agreements C and D, only facts pertaining to and knowledge possessed by
                  any member of the Control Group shall be imputed to any other member of the Control Group or to the
                  Named Insured or a Subsidiary.
         GG.      alleging, based upon, arising out of, or attributable to the Over-Redemption of coupons, awards, or
                  prizes from advertisements, promotions, games, sweepstakes, contests or games of chance; Over-
                  Redemption means price discounts, prizes, awards, or other valuable consideration given in excess of
                  the total contracted or excepted or expected amount.
IV.      ESTATES, LEGAL REPRESENTATIVES AND SPOUSES
         The estates, heirs, legal representatives, assigns, spouses and Domestic Partners of Insureds shall be
         considered Insureds under this Policy, but coverage is afforded to such estates, heirs, legal representatives,
         assigns, spouses and Domestic Partners only for a Claim arising solely out of their status as such and, in the
         case of a spouse or Domestic Partner, where the Claim seeks damages from marital community property, jointly
         held property or property transferred from the Insured to the spouse or Domestic Partner. No coverage is
         provided for any Wrongful Act of an estate, heir, legal representative, assign, spouse or Domestic Partner. All
         of the terms and conditions of this Policy including, without limitation, the Retention shown in Item 5 of the
         Declarations applicable to Damages, Claims Expenses, or Data Breach Expenses incurred by Insureds, shall
         also apply to Damages, Claims Expenses, or Data Breach Expenses incurred by such estates, heirs, legal
         representatives, assigns, spouses and Domestic Partners.
V.       EXTENDED REPORTING PERIODS
         If the Insurer terminates or does not renew this Policy (other than for failure to pay a premium when due), or if
         the Named Insured terminates or does not renew this Policy and does not obtain replacement coverage as of
         the effective date of such termination or nonrenewal, the Named Insured shall have the right, upon payment of
         the additional premium described below, to a continuation of the coverage granted by this Policy for at least one
         Extended Reporting Period as follows:
         A.       Automatic Extended Reporting Period
                  The Named Insured shall have continued coverage granted by this Policy for a period of 60 days
                  following the effective date of such termination or nonrenewal, but only for Claims first made during such
                  60 days and arising from Wrongful Acts taking place prior to the effective date of such termination or
                  nonrenewal. This Automatic Extended Reporting Period shall immediately expire upon the purchase of
                  replacement coverage by the Named Insured.
         B.       Optional Extended Reporting Period
                  The Named Insured shall have the right, upon payment of the additional premium set forth in Item 9A of
                  the Declarations, to an Optional Extended Reporting Period, for the period set forth in Item 9B of the
                  Declarations following the effective date of such termination or nonrenewal, but only for Claims first made
                  during such Optional Extended Reporting Period and arising from Wrongful Acts taking place prior to
                  the effective date of such termination or nonrenewal.
                  This right to continue coverage shall lapse unless written notice of such election is given by the Named
                  Insured to the Insurer, and the Insurer receives payment of the additional premium within 60 days
                  following the effective date of termination or nonrenewal.
                  The first 60 days of the Optional Extended Reporting Period, if it becomes effective, shall run
                  concurrently with the Automatic Extended Reporting Period.

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            C.       The Insurer shall give the Named Insured notice of the premium due for the Optional Extended
                     Reporting Period as soon as practicable following the date the Named Insured gives such notice of
                     such election, and such premium shall be paid by the Named Insured to the Insurer within 10 days
                     following the date of such notice by the Insurer of the premium due. The Optional Extended Reporting
                     Period is not cancelable and the entire premium for the Optional Extended Reporting Period shall be
                     deemed fully earned and non-refundable upon payment.
            D.       The Automatic and Optional Extended Reporting Periods shall be part of and not in addition to the Limit
                     of Liability for the immediately preceding Policy Period. The Automatic and Optional Extended
                     Reporting Periods shall not increase or reinstate the Limit of Liability, which shall be the maximum
                     liability of the Insurer for the Policy Period and the Automatic and Optional Extended Reporting
                     Period, combined.
            E.       A change in Policy terms, conditions, exclusions and/or premiums shall not be considered a nonrenewal
                     for purposes of triggering the rights to the Automatic or Optional Extended Reporting Period.
VI.         LIMITS OF LIABILITY
            Regardless of the number of Insuring Agreements purchased under this Policy, Insureds against whom Claims
            are brought, Claims made or persons or entities making Claims:
      A.         Limit of Liability for Insuring Agreement(s) Purchased
                     1. With respect to Insuring Agreements A, B, C, and D:
                         a. the Each Claim Limit of Liability stated in Item 4A of the Declarations is the Insurer’s maximum
                            liability under the applicable Insuring Agreement for the sum of all Damages and all Claims
                            Expenses because of each Claim, including each Claim alleging any Interrelated Wrongful
                            Acts, first made and reported during the Policy Period.
                         b. the Aggregate Limit of Liability stated in Item 4A of the Declarations is the Insurer’s maximum
                            liability under the applicable Insuring Agreement for the sum of all Damages and all Claims
                            Expenses because of all Claims combined in the aggregate, including all Claims alleging any
                            Interrelated Wrongful Acts, first made and reported during the Policy Period.
                     2. With respect to Insuring Agreement E:
                         a. the Each Claim Limit of Liability stated in Item 4A of the Declarations is the Insurer’s maximum
                            liability under Insuring Agreement E for the sum of all Data Breach Expenses because of each
                            Claim, including each Claim alleging any Interrelated Wrongful Acts, first made and reported
                            during the Policy Period.
                         b. the Aggregate Limit of Liability stated in Item 4A of the Declarations is the Insurer’s maximum
                            liability under Insuring Agreement E for the sum of all Data Breach Expenses because of all
                            Claims combined in the aggregate, including all Claims alleging any Interrelated Wrongful
                            Acts, first made and reported during the Policy Period.
                     3. With respect to Insuring Agreements C and D only, and notwithstanding the otherwise applicable
                        Each Claim and Aggregate Limits of Liability stated in Item 4A of the Declarations:
                         a. the Each Claim Regulatory Proceeding Sub-Limit of Liability stated in Item 4B of the
                            Declarations is the Insurer’s maximum liability under Insuring Agreements C and D for the sum
                            of all Damages and all Claims Expenses incurred because of each Regulatory Proceeding
                            Claim, including each Claim alleging any Interrelated Wrongful Acts, first made and reported
                            during the Policy Period.
                         b. the Aggregate Regulatory Proceeding Sub-Limit of Liability stated in Item 4B of the Declarations
                            is the Insurer’s maximum liability under Insuring Agreements C and D for the sum of all
                            Damages and all Claims Expenses incurred because all Regulatory Proceeding Claims
                            combined in the aggregate, including all Claims alleging any Interrelated Wrongful Acts, first
                            made and reported during the Policy Period.
                         c.   the Regulatory Proceeding Sub-Limit of Liability shall be part of and not in addition to the
                              otherwise applicable Each Claim or Aggregate Limits of Liability stated in Item 4A of the
                              Declarations, and will not increase the Insurer’s Limit of Liability as provided therein.



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                      Notwithstanding the foregoing, the Each Claim Regulatory Proceeding Sub-Limit of Liability and
                      Aggregate Regulatory Proceeding Sub-Limit of Liability stated in Item 4B of the Declarations shall
                      not apply to that portion of Damages which are allocated to the Consumer Redress Fund.
                  4. All Claims arising out of the same Wrongful Act and all Interrelated Wrongful Acts of the Insureds
                     shall be deemed to be one Claim, and such Claim shall be deemed to be first made on the date the
                     earliest of such Claims is first made, regardless of whether such date is before or during the Policy
                     Period.
                  5. Claims Expenses and Data Breach Expenses shall be part of and not in addition to the applicable
                     Aggregate Limits of Liability stated in Item 4A or 4C of the Declarations, and shall reduce such
                     Aggregate Limits of Liability. If the applicable Limit of Liability is exhausted by payment of Damages,
                     Claims Expenses, or Data Breach Expenses, the obligations of the Insurer under this Policy shall
                     be completely fulfilled and extinguished. The Insurer is entitled to pay Damages, Claims Expenses,
                     and Data Breach Expenses as they become due and payable by the Insureds, without
                     consideration of other future payment obligations.
         B.       Maximum Policy Aggregate Limit of Liability
                  The Maximum Policy Aggregate Limit of Liability stated in Item 4C of the Declarations is the Insurer’s
                  maximum liability under all Insuring Agreements purchased for the sum of all Damages, all Claims
                  Expenses, and all Data Breach Expenses because of all Claims under this Policy.
         C.       All Claims arising out of the same Wrongful Act and all Interrelated Wrongful Acts of the Insureds
                  shall be deemed to be one Claim, and such Claim shall be deemed to be first made on the date the
                  earliest of such Claims is first made, regardless of whether such date is before or during the Policy
                  Period. All Damages, Claims Expenses, and Data Breach Expenses resulting from a single Claim
                  shall be deemed, respectively, a single Damage, Claims Expense, or Data Breach Expense.
         D.       Damages, Claims Expenses, and Data Breach Expenses shall be part of and not in addition to the
                  applicable Limit(s) of Liability shown in Item 4 of the Declarations, and shall reduce such Limit(s) of
                  Liability. If the Limit(s) of Liability are exhausted by payment of Damages, Claims Expenses, or Data
                  Breach Expenses, the obligations of the Insurer under this Policy shall be completely fulfilled and
                  extinguished.
VII.     RETENTION
         A.       The liability of the Insurer shall apply only to that part of Damages, Claims Expenses, and Data Breach
                  Expenses, which are in excess of the applicable Retention amount shown in Item 5 of the Declarations.
                  Such Retention shall be borne by the Named Insured and at the risk of all Insureds, but the Named
                  Insured may obtain other insurance specifically insuring such risk, and payments made by such other
                  insurance covering the Retention will serve to erode the Retention. Further, payment for any Claim
                  pursuant to a written third party indemnity agreement with the Insured, or where the Insured is an
                  additional insured under the insurance policy of a third party, shall also erode the Retention on this
                  Policy.
         B.       A single Retention amount shall apply to Damages, Claims Expenses, and Data Breach Expenses
                  arising from all Claims alleging Interrelated Wrongful Acts.
         C.       If different parts of a single Claim are subject to different Retentions, the applicable Retention shall be
                  applied separately to each part of the Damages, Claim Expenses, and Data Breach Expenses, but the
                  sum of such Retentions shall not exceed the largest applicable Retention.
VIII.    NOTICE
         A.       The Control Group shall, as a condition precedent to the Insured’s rights under this Policy, give to the
                  Insurer written notice (including but not limited to written notice by email to the address listed in the
                  Declarations) of any Claim in which the sum of Damages, Claims Expenses, and Data Breach
                  Expenses can reasonably be expected to exceed $1,000,000, or any Claim filed as a class action claim
                  (whether or not such class is certified) as soon as practicable, but in no event later than 45 days after: (i)
                  the end of the Policy Period or (ii) with respect to Claims first made during any applicable Automatic or
                  Optional Extended Reporting Period, the end of such Automatic or Optional Extended Reporting
                  Period.
                  Solely with respect to Claims where the actual or reasonably expected sum of Damages, Claims
                  Expenses, and Data Breach Expenses exceeds $250,000, in lieu of individual written notice of each

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                  Claim as referenced above, the Insured shall provide the Insurer with status reports on all Claims
                  reported to the Insurer via a Claims bordereau on a semi-annual basis, but in no event later than 45
                  days after: (i) the end of the Policy Period, or (ii) with respect to Claims first made during any applicable
                  Automatic or Optional Extended Reporting Period, the end of such Automatic or Optional Extended
                  Reporting Period. Such bordereau shall include the following information with respect to each Claim
                  listed on the bordereau:
                             1. Identity of Claimant
                             2. Date Claim first made against Insured
                             3. Brief description of the Claim
                             4. Claimant’s monetary demand
                             5. Identity of counsel retained to defend the Insured
                             6. Current status of Claim (to be updated quarterly)
                  The Insurer may at any time request full and specific reporting as to an individual Claim on a bordereau
                  report.
                  All other Claims not referenced in the above two paragraphs of this subsection A do not need to be
                  reported by the Insured unless and until they reach the stated reporting thresholds.
         B.       If, during the Policy Period, the Named Insured’s Vice President of Risk Management, Senior Vice
                  President Deputy General Counsel – Litigation and Employment, or Chief Information Security Officer (or
                  the functional equivalent of such positions) becomes aware of any specific Wrongful Act which may
                  reasonably give rise to a future Claim covered under this Policy (“Potential Claim”), and if such individual
                  gives written notice to the Insurer during the Policy Period, the Automatic Extended Reporting Period,
                  or, if elected, the Optional Extended Reporting Period of:
                  1. the identity of the potential claimants;
                  2. a description of the anticipated Wrongful Act allegations;
                  3. the identity of the Insureds allegedly involved;
                  4. the circumstances by which the Insureds first became aware of the Wrongful Act;
                  5. the consequences which have resulted or may result; and
                  6. the nature of the potential monetary damages;
                  then any Claim which arises out of such Wrongful Act shall be deemed to have been first made at the
                  time such written notice was received by the Insurer. No coverage is provided for fees, expenses and
                  other costs incurred prior to the time such Wrongful Act results in a Claim.
                  Further, solely with respect to such Potential Claim under Insuring Agreement B, Media Activities
                  Liability, Claims Expenses will include reasonable and necessary costs incurred by the Insured
                  (excluding the Insured’s lost profits, management costs, mark-up, tax liability, or any measure of lost
                  business income) to rectify the Wrongful Act, provided that the Insured:
                       i. notifies the Insurer of the Wrongful Act as soon as practicable;
                       ii. demonstrates that a future Claim would likely result from such Wrongful Act if not rectified;
                      iii. demonstrates that such future Claim would likely be covered under this Policy and involve a
                           demand for Damages which exceeds the cost of rectifying the Wrongful Act, and
                      iv. obtains the prior written consent of the Insurer before incurring such rectification costs, or incurs
                          such costs within ten days of first learning of the Wrongful Act and subsequently provides the
                          Insurer with all information and documentation to justify such costs;
                  If a Claim is nevertheless made following the incurring of such rectification costs, then the payment of
                  such rectification costs, if covered by the Policy, will be deducted from the amount the Insurer otherwise
                  owes in the defense and settlement of such Claim.
         C.       All notices under any provision of this Policy shall be in writing (including but not limited to written notice
                  by email to the address listed in the Declarations) and given by prepaid express courier or certified mail
                  properly addressed to the appropriate party. Notice to the Insureds may be given to the Named Insured
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                  at the address shown in Item 1 of the Declarations. Notice to the Insurer of any Claim or Wrongful Act
                  shall be given to the Insurer at the address set forth in Item 6A of the Declarations. All other notices to
                  the Insurer under this Policy shall be given to the Insurer at the address set forth in Item 6B of the
                  Declarations. Notice given as described above shall be deemed to be received and effective upon actual
                  receipt thereof by the addressee, or one day following the date such notice is sent, whichever is earlier.
         D.       No notice that may be given during the Policy Period under section VIII, Notice, at subsection B may be
                  given during the Extended Reporting Periods, if elected.
IX.      DEFENSE AND SETTLEMENT
         A.       The Insured, and not the Insurer, shall have the right and duty to defend any covered Claim brought
                  against the Insured even if such Claim is groundless, false or fraudulent. The Insurer shall have the
                  right, at its own cost, to effectively associate with the Insured in the investigation and defense of any
                  Claim as it deems necessary. The Insured shall not:
                                1. admit or assume liability without the prior written consent of the Insurer;
                                2. settle or negotiate to settle any Claim unless such settlement fully resolves such Claim
                                   within the applicable Retention; or
                                3. incur any Claims Expenses or Data Breach Expenses without the prior written consent
                                   of the Insurer, which consent shall not be unreasonably withheld, provided, however,
                                   notwithstanding the foregoing, the Insured may incur Data Breach Expenses as defined
                                   in subsection 3 of the definition of Data Breach Expenses without the prior written
                                   consent of the Insurer up to an aggregate per Claim limit of $250,000, after which
                                   Insurer consent is required, and subject to the applicable Limit of Liability.
         B.       The Insured shall have the right to appoint defense counsel, after notifying the Insurer of the name and
                  hourly rates of such counsel, and subject to the Insurer’s consent (which shall not be unreasonably
                  withheld), to defend any covered Claim. Such counsel shall adhere to the Insurer’s Litigation
                  Management Program, a copy of which shall be provided to the Insured and counsel and shall be
                  deemed incorporated into this Policy.
         C.       The Insurer shall not be liable for any settlement, Claims Expenses, Data Breach Expenses, assumed
                  obligation or admission to which it has not consented. The Insureds shall promptly send to the Insurer
                  all settlement demands or offers received by any Insured from the claimant(s). However, if the Insureds
                  are able to settle all Claims which are subject to a single Retention for an aggregate amount, including
                  Claims Expenses, not exceeding such Retention, the consent of the Insurer shall not be required for the
                  settlement of such Claims.
         D.       The Insurer shall not be obligated to investigate, pay or settle, or continue to investigate, pay or settle
                  any Claim after any applicable Limit of Liability specified in Item 4 of the Declarations has been
                  exhausted by payment of Damages, Claims Expenses, or Data Breach Expenses or by any
                  combination thereof, or after the Insurer has deposited the remainder of any unexhausted applicable
                  Limit of Liability into a court of competent jurisdiction. In either such case, the Insurer shall have the right
                  to withdraw from the further investigation, payment or settlement of such Claim by tendering control of
                  such Claim to the Insured.
         E.       The Insured shall cooperate with the Insurer. Solely with respect to reportable Claims pursuant to the
                  Notice section of this Policy, and the Insured shall provide to the Insurer all information and assistance
                  which the Insurer reasonably requests including but not limited to attending hearings, depositions and
                  trials and assistance in effecting settlements, securing and giving evidence, obtaining the attendance of
                  witnesses and conducting the defense of any Claim covered by this Policy. The Insured shall do nothing
                  that may prejudice the Insurer’s position. The Insureds shall immediately forward to the Insurer, at the
                  address indicated in Item 6A of the Declarations, every demand, notice, summons, or other process or
                  pleading received by the Insured or its representatives.
         F.       It is agreed that, except with respect to that part of Data Breach Expenses set forth in Section II,
                  subsection J3 of this Policy, the Insured has the right to incur Data Breach Expenses without the
                  Insurer’s prior consent. However, the Insurer shall, at its’ sole discretion and in good faith, reimburse
                  the Insured only for such expenses that the Insurer deems to be reasonable and necessary.




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X. ALLOCATION
         Damages and Claims Expenses incurred by the Insured on account of any Claim for which the Insurer does
         not retain the duty to defend shall be allocated between covered and uncovered loss based on the relative legal
         and financial exposures of the parties and loss at issue.
XI. OTHER INSURANCE
         If any Damages, Claims Expenses, or Data Breach Expenses covered under this Policy are covered under
         any other valid and collectible insurance, then this Policy shall cover such Damages, Claims Expenses, or Data
         Breach Expenses subject to the Policy terms and conditions, only to the extent that the amount of such
         Damages, Claims Expenses, or Data Breach Expenses are in excess of the amount of such other insurance
         whether such other insurance is stated to be primary, contributory, excess, contingent or otherwise, unless such
         other insurance is written only as specific excess insurance over the Limits of Liability provided by this Policy.
XII.     MATERIAL CHANGES IN CONDITIONS
         A.       Acquisition or Creation of Another Organization
                  If, during the Policy Period, the Named Insured:
                  1. acquires voting securities in another organization or creates another organization, which as a result of
                     such acquisition or creation becomes a Subsidiary; or
                  2. acquires any organization by merger into or consolidation with the Named Insured;
                  then, subject to the terms and conditions of this Policy, such organization shall be covered under this
                  Policy but only with respect to Claims for Wrongful Acts taking place after such acquisition or creation,
                  unless the Insurer agrees to provide coverage by endorsement for Wrongful Acts taking place prior to
                  such acquisition or creation.
                  If the total assets of such acquired organization, as reflected in the then most recent consolidated
                  financial statements of the organization, exceeds 10% of the total assets of the Named Insured and the
                  Subsidiaries as reflected in the then most recent consolidated financial statements of the Named
                  Insured, the Named Insured, as a condition precedent to coverage with respect to such Insureds, shall,
                  no later than 60 days after the effective date of such acquisition or creation:
                  1. give written notice of such acquisition or creation to the Insurer;
                  2. pay any additional premium required by the Insurer; and
                  3. agree to any additional terms and conditions of this Policy as required by the Insurer.
         B.       Acquisition of the Named Insured
                  If, during the Policy Period, any of the following events occurs:
                  1. the acquisition of the Named Insured, or of all or substantially all of its assets, by another entity, or
                     the merger or consolidation of the Named Insured into or with another entity such that the Named
                     Insured is not the surviving entity; or
                  2. the obtaining by any person, entity or affiliated group of persons or entities of the right to elect,
                     appoint or designate at least 50% of the directors of the Named Insured;
                  then coverage under this Policy will continue in full force and effect until termination of this Policy, but
                  only with respect to Claims for Wrongful Acts taking place before such event. Coverage under this
                  Policy will cease as of the effective date of such event with respect to Claims for Wrongful Acts taking
                  place after such event. This Policy may not be cancelled after the effective time of the event, and the
                  entire premium for this Policy shall be deemed earned as of such time.
         C.       Termination of a Subsidiary
                  If before or during the Policy Period an organization ceases to be a Subsidiary, coverage with respect
                  to the Subsidiary and its Insured Persons shall continue until termination of this Policy. Such coverage
                  continuation shall apply only with respect to Claims for Wrongful Acts taking place prior to the date such
                  organization ceased to be a Subsidiary.
XIII.    REPRESENTATIONS



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         A.       The Insureds represent and acknowledge that the statements and information contained in the
                  Application, including all information provided concerning network security policies and procedures,
                  information management policies and procedures, and business continuity plans and policies, are true
                  and accurate and:
                  1. are the basis of this Policy and are to be considered as incorporated into and constituting a part of
                     this Policy; and
                  2. shall be deemed material to the acceptance of this risk or the hazard assumed by the Insurer under
                     this Policy.
         B.       It is understood and agreed that:
                  1. this Policy is issued in reliance upon the truth and accuracy of such representations;
                  2. the Insureds have and will provide accurate information with regard to loss control audits and network
                       security assessments as required by the Insurer; and
                  3. if such representations or such information are not true, accurate and complete, this Policy shall be null
                        and void in its entirety and the Insurer shall have no liability hereunder.
         C. Solely with respect to the applicability of Section XIII, Representations of the Policy, only facts pertaining to
            and knowledge possessed by the person(s) who signed the Application or by any member of the Control
            Group shall be imputed to any other member of the Control Group or to the Named Insured or a
            Subsidiary.
XIV.     TERMINATION OF THE POLICY
         A.       This Policy shall terminate at the earliest of the following times:
                  1. the effective date of termination specified in a prior written notice by the Named Insured to the
                     Insurer;
                  2. 30 days after receipt by the Named Insured of a written notice of termination from the Insurer;
                  3. 10 days after receipt by the Named Insured of a written notice of termination from the Insurer for
                     failure to pay a premium when due, unless the premium is paid within such 10 day period;
                  4. upon expiration of the Policy Period as set forth in Item 2 of the Declarations; or
                  5. at such other time as may be agreed upon by the Insurer and the Named Insured.
         B.       If the Policy is terminated by the Named Insured or the Insurer, the Insurer shall refund the unearned
                  premium computed pro rata. Payment or tender of any unearned premium by the Insurer shall not be a
                  condition precedent to the effectiveness of such termination, but such payment shall be made as soon as
                  practicable.
XV. TERRITORY AND VALUATION
         All premiums, limits, retentions, Damages, Claims Expenses, Data Breach Expenses, and other amounts under
         this Policy are expressed and payable in the currency of the United States of America. If judgment is rendered,
         settlement is denominated or another element of loss under this Policy is stated in a currency other than United
         States of America dollars, payment under this Policy shall be made in United States dollars at the applicable rate
         of exchange as published in The Wall Street Journal as of the date the final judgment is reached, the amount of
         the settlement is agreed upon or the other element of loss is due, respectively, or, if not published on such date,
         the next date of publication of The Wall Street Journal.
         Coverage provided under this Policy shall extend to Wrongful Acts and Claims taking place, brought or
         maintained anywhere in the world.
XVI.     SUBROGATION
         In the event of any payment under this Policy, the Insurer shall be subrogated to the extent of such payment to all
         the rights of recovery of the Insureds. The Insureds shall execute all papers required and shall do everything
         necessary to secure and preserve such rights, including the execution of such documents necessary to enable
         the Insurer effectively to bring suit or otherwise pursue subrogation rights in the name of the Insureds.
         Notwithstanding the foregoing, if the Insured enters into a written contract to waive its rights of recovery against
         another party to a contract, and such waiver reduces or eliminates the Insurer’s subrogation rights under this
         Policy, such waiver shall not constitute a violation of this section, provided that such contract was entered into by

MS‐7607 (02/12) Disney manuscript                       © 2012                                                     Page 20 of 22  
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          the Insured and effective prior to the commissions of any Wrongful Act that would otherwise give rise to the
          Insurer’s subrogation right.
XVII.     AUTHORIZATION CLAUSE
          By acceptance of this Policy, the Named Insured agrees to act on behalf of all Insureds with respect to the
          giving of notice of Claim, the giving or receiving of notice of termination or non renewal, the payment of
          premiums, the receiving of any premiums that may become due under this Policy, the agreement to and
          acceptance of endorsements, consenting to any settlement, exercising the right to the Extended Reporting
          Period, and the giving or receiving of any other notice provided for in this Policy, and all Insureds agree that the
          Named Insured shall so act on their behalf.
XVIII.    ALTERATION, ASSIGNMENT AND HEADINGS
          A.      Notice to any agent or knowledge possessed by any agent or by any other person shall not affect a
                  waiver or a change in any part of this Policy nor prevent the Insurer from asserting any right under the
                  terms of this Policy.
          B.      No change in, modification of, or assignment of interest under this Policy shall be effective except when
                  made by a written endorsement to this Policy which is signed by an authorized representative of the
                  Insurer.
          C.      The titles and headings to the various parts, sections, subsections and endorsements of the Policy are
                  included solely for ease of reference and do not in any way limit, expand or otherwise affect the
                  provisions of such parts, sections, subsections or endorsements.
XIX.      ALTERNATIVE DISPUTE RESOLUTION
          The Insureds and the Insurer shall submit any dispute or controversy arising out of or relating to this Policy or
          the breach, termination or invalidity thereof to the alternative dispute resolution (“ADR”) process set forth in this
          Section.
          Either an Insured or the Insurer may elect the type of ADR process discussed below; provided, however, that the
          Insured shall have the right to reject the choice by the Insurer of the type of ADR process at any time prior to its
          commencement, in which case the choice by the Insured of ADR process shall control.
          There shall be two choices of ADR process: (1) non-binding Mediation administered by any Mediation facility to
          which the Insurer and the Insured mutually agree, in which the Insured and the Insurer shall try in good faith to
          settle the dispute by Mediation in accordance with the then-prevailing commercial Mediation rules of the
          Mediation facility; or (2) arbitration submitted to any arbitration facility to which the Insured and the Insurer
          mutually agree, in which the arbitration panel shall consist of three disinterested individuals. In either Mediation
          or arbitration, the mediator or arbitrators shall have knowledge of the legal, corporate management, or insurance
          issues relevant to the matters in dispute. In the event of arbitration, the decision of the arbitrators shall be final
          and binding and provided to both parties, and the award of the arbitrators shall not include attorneys’ fees or other
          costs. In the event of Mediation, either party shall have the right to commence a judicial proceeding; provided,
          however, that no such judicial proceeding shall be commenced until at least 60 days after the date the Mediation
          shall be deemed concluded or terminated. In all events, each party shall share equally the expenses of the ADR
          process.
          Either ADR process may be commenced in New York, New York or in the state indicated in Item 1 of the
          Declarations as the principal address of the Named Insured. The Named Insured shall act on behalf of each and
          every Insured in connection with any ADR process under this Section.
XX. ADDITIONAL INSURED COVERAGE
          Subject to the Named Insured’s written request following the Named Insured’s review of a Claim against an
          Additional Insured, the Insurer will pay Damages and Claims Expenses incurred by such Additional Insured
          due to a Claim being made against such Additional Insured that directly arises from your media Content, but
          only if the Named Insured contracted in writing to indemnify such Additional Insured (or to provide insurance of
          the type afforded by this Policy) for such a Claim prior to it first being made against such Additional Insured.
          The only payments the Insurer will make toward a Claim against such Additional Insured under this Policy are
          payments to which the Named Insured would be entitled under this Policy if the same Claim and allegations
          asserted against such Additional Insured had been made against the Named Insured. However, the Insurer
          will not deny coverage for payments toward a Claim against such Additional Insured due to any failure by the


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         Named Insured to comply with the notification provisions of this Policy where such failure is solely attributable to
         such Additional Insured’s failure to timely notify the Named Insured of the Claim as soon as practicable.
         The Insurer will not pay for any portion of any Claim against an Additional Insured that:
                 arises out of any matter that prior to the first day of the Policy Period the Insured knew or could
                  reasonably have foreseen would be likely to lead to a Claim against such Additional Insured;
                 relates in whole or in part from an Additional Insured’s written admission of liability; or
                 arises out of any material created by an Additional Insured or any Media Activities performed by an
                  Additional Insured, except to the extent such Additional Insured satisfies the provisions of items ii and
                  iii (where applicable) of the definition of Additional Insured.




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                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


Named Insured                                                                                 Endorsement Number
The Walt Disney Company                                                                       1

Policy Symbol              Policy Number            Policy Period                             Effective Date of Endorsement
EON                        G21654115 006            05/01/2012 to 05/01/2013                  05/01/2012
Issued By (Name of Insurance Company)
Illinois Union Insurance Company

                                           Trade Or Economic Sanctions Endorsement




This insurance does not apply to the extent that trade or economic sanctions or other laws or regulations prohibit
us from providing insurance, including, but not limited to, the payment of claims. All other terms and conditions of
the policy remain unchanged.




                                                                                   Authorized Agent


ALL-21101 (11/06) Ptd. in U.S.A.                                                                             Page 1 of 1
         Case 2:17-cv-07598-GW-E Document 1-2 Filed 10/17/17 Page 31 of 94 Page ID #:47

THE ONLY SIGNATURES APPLICABLE TO THIS POLICY ARE THOSE REPRESENTING THE COMPANY NAMED ON
THE FIRST PAGE OF THE DECLARATIONS.


  Named Insured                                                                                        Endorsement Number
  The Walt Disney Company                                                                              2
  Policy Symbol               Policy Number            Policy Period                                   Effective Date of Endorsement
  EON                         G21654115 006            06/011/2011 to 05/01/2013                       05/01/2012
  Issued By (Name of Insurance Company)
  Illinois Union Insurance Company

                                                      Signature Endorsement

    By signing and delivering the policy to you, we state that it is a valid contract when countersigned by our
    authorized representative.



                                      ILLINOIS UNION INSURANCE COMPANY (A stock company)
                                         525 W. Monroe Street, Suite 700, Chicago, Illinois 60661



                          WESTCHESTER SURPLUS LINES INSURANCE COMPANY (A stock company)
                                500 Colonial Center Parkway, Suite 200, Roswell, GA 30076




                                                                                       Authorized Representative




    LD-5S23h (07/10) Ptd. in U.S.A.
        Case 2:17-cv-07598-GW-E Document 1-2 Filed 10/17/17 Page 32 of 94 Page ID #:48


                   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

 Named Insured                                                                                     Endorsement Number
 The Walt Disney Company                                                                           3

 Policy Symbol              Policy Number       Policy Period                                      Effective Date of Endorsement
 EON                        G21654115 006       06/011/2011 to 05/01/2013                          05/01/2012
 Issued By (Name of Insurance Company)
 Illinois Union Insurance Company


                                              Service Of Suit Endorsement
Information about service of suits upon the company is given below. Service of process of suits against the company may
be made upon the following person, or another person the company may designate:


                                            Saverio Rocca, Assistant General Counsel
                                            ACE Group of Insurance Companies
                                            436 Walnut Street
                                            Philadelphia, PA 19106-3703

The person named above is authorized and directed to accept service of process on the company's behalf in any action,
suit or proceeding instituted against the company. If the insured requests, the company will give the insured a written
promise that a general appearance will be entered on the company's behalf if a suit is brought.

If the insured requests, the company will submit to the jurisdiction of any court of competent jurisdiction. The company will
accept the final decision of that court or any Appellate Court in the event of an appeal. However, nothing in this
endorsement constitutes a waiver of company’s right to remove an action to a United States District Court, or to seek a
transfer of a case to another court as permitted by the laws of the United States or of any state in the United States.


The law of some jurisdictions of the United States of America requires that the Superintendent, Commissioner or Director
of Insurance (or their successor in office) be designated as the company's agent for service of process. In these
jurisdictions, the company designates the Director of Insurance as the company's true and lawful attorney upon whom
service of process on the company's behalf may be made. The company also authorizes the Director of Insurance to mail
process received on the company's behalf to the company person named above.

If the insured is a resident of Canada, the insured may also serve suit upon the company by serving the government
official designated by the law of the insured's province.



NOTHING HEREIN CONTAINED SHALL BE HELD TO VARY, ALTER, WAIVE OR EXTEND ANY OF THE TERMS,
CONDITIONS, OR LIMITATIONS OF THE POLICY TO WHICH THIS ENDORSEMENT IS ATTACHED OTHER THAN
AS ABOVE STATED.




                                                                                   Authorized Representative


SL-34255 (09/11)
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             THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

 Named Insured                                                                                 Endorsement Number
 The Walt Disney Company                                                                       4

 Policy Symbol              Policy Number            Policy Period                             Effective Date of Endorsement
 EON                        G21654115 006            06/011/2011 to 05/01/2013                 05/01/2012
 Issued By (Name of Insurance Company)
 Illinois Union Insurance Company


                                            Retention (Item 5) Amended Endorsement
    It is agreed that solely with respect to coverage afforded to, and Wrongful Acts actually or allegedly committed by
    Buena Vista Books, Item 5 of the Declarations is deleted in its entirety and the following is inserted:

          Item 5. Retention:
                  $500,000               each Claim for Coverage B


    All other terms and conditions of this Policy remain unchanged.




                                                                            ________________________________________
                                                                                   Authorized Representative




MS-7608 (02/12)                                                                                  Page 1 of 1
        Case 2:17-cv-07598-GW-E Document 1-2 Filed 10/17/17 Page 34 of 94 Page ID #:50

           THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

 Named Insured                                                                                 Endorsement Number
 The Walt Disney Company                                                                       5

 Policy Symbol              Policy Number            Policy Period                             Effective Date of Endorsement
 EON                        G21654115 006            06/011/2011 to 05/01/2013                 05/01/2012
 Issued By (Name of Insurance Company)
 Illinois Union Insurance Company


                                            Retention (Item 5) Amended Endorsement
    It is agreed that solely with respect to coverage afforded to, and Wrongful Acts actually or allegedly committed by
    Digisynd, Item 5 of the Declarations is deleted in its entirety and the following is inserted:

          Item 5. Retention:
                  $500,000               each Claim for Coverage B


    All other terms and conditions of this Policy remain unchanged.




                                                                            ________________________________________
                                                                                   Authorized Representative




MS-7608 (02/12)                                                                                  Page 1 of 1
        Case 2:17-cv-07598-GW-E Document 1-2 Filed 10/17/17 Page 35 of 94 Page ID #:51

                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

 Named Insured                                                                                 Endorsement Number
 The Walt Disney Company                                                                       6

 Policy Symbol              Policy Number            Policy Period                             Effective Date of Endorsement
 EON                        G21654115 006            06/011/2011 to 05/01/2013                 05/01/2012
 Issued By (Name of Insurance Company)
 Illinois Union Insurance Company


                                            Retention (Item 5) Amended Endorsement
    It is agreed that solely with respect to coverage afforded to, and Wrongful Acts actually or allegedly committed by
    ESPN 30 for 30, Item 5 of the Declarations is deleted in its entirety and the following is inserted:

          Item 5. Retention:
                  $5,000,000             each Claim for Coverage B



    All other terms and conditions of this Policy remain unchanged.




                                                                            ________________________________________
                                                                                   Authorized Representative




MS-7608 (02/12)                                                                                  Page 1 of 1
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                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

 Named Insured                                                                                 Endorsement Number
 The Walt Disney Company                                                                       7

 Policy Symbol              Policy Number            Policy Period                             Effective Date of Endorsement
 EON                        G21654115 006            06/011/2011 to 05/01/2013                 05/01/2012
 Issued By (Name of Insurance Company)
 Illinois Union Insurance Company


                                                    Retention (Item 5) Amended
    It is agreed that solely with respect to coverage afforded to, and Wrongful Acts actually or allegedly committed by
    T180 Studios LLC, Item 5 of the Declarations is deleted in its entirety and the following is inserted:

          Item 5. Retention:
                  $50,000                each Claim for Coverage B


    All other terms and conditions of this Policy remain unchanged.



                                                                            ________________________________________
                                                                                   Authorized Representative




MS-7608 (02/12)                                                                                  Page 1 of 1
        Case 2:17-cv-07598-GW-E Document 1-2 Filed 10/17/17 Page 37 of 94 Page ID #:53

           THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

 Named Insured                                                                                        Endorsement Number
 The Walt Disney Company                                                                              8

 Policy Symbol              Policy Number          Policy Period                                      Effective Date of Endorsement
 EON                        G21654115 006          06/011/2011 to 05/01/2013                          05/01/2012
 Issued By (Name of Insurance Company)
 Illinois Union Insurance Company


                                                  Retroactive Date Amended


    It is agreed that solely with respect to coverage afforded to, and Wrongful Acts actually or allegedly committed by
    Digisynd, Item 10 of the Declarations is deleted in its entirety and the following is inserted:


          Item 10. Retroactive Date:

                    A.   Technology and Internet Errors and Omissions Liability          06/09/2008
                    B.   Media Activities Liability                                      06/09/2008
                    C.   Network Security Liability                                      06/09/2008
                    D.   Privacy Liability (subject to Regulatory Proceeding sublimit)   06/09/2008
                    E.   Data Breach Fund                                                06/09/2008



    All other terms and conditions of this Policy remain unchanged.


                                                                             ________________________________________
                                                                                    Authorized Representative




MS-7609 (02/12)                                                                                                    Page 1 of 1
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                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

 Named Insured                                                                                  Endorsement Number
 The Walt Disney Company                                                                        9

 Policy Symbol              Policy Number          Policy Period                                Effective Date of Endorsement
 EON                        G21654115 006          06/011/2011 to 05/01/2013                    05/01/2012
 Issued By (Name of Insurance Company)
 Illinois Union Insurance Company


                                                  Retroactive Date Amended

    It is agreed that solely with respect to coverage afforded to, and Wrongful Acts actually or allegedly committed by
    T180 Studios LLC, Item 10 of the Declarations is deleted in its entirety and the following is inserted:


          Item 10. Retroactive Date:

                    A.   Technology and Internet Errors and Omissions Liability            08/07/2008
                    B.   Media Activities Liability                                        08/07/2008
                    C.   Network Security Liability                                        08/07/2008
                    D.   Privacy Liability (subject to Regulatory Proceeding sublimit)     08/07/2008
                    E.   Data Breach Fund                                                  08/07/2008


    All other terms and conditions of this Policy remain unchanged.


                                                                             ________________________________________
                                                                                    Authorized Representative




MS-7609 (02/12)                                                                                   Page 1 of 1
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     Illinois Union
     INSURANCE COMPANY

     525 West Monroe Street, Suite 700
     Chicago, IL 60661




                                             NOTICE
     POLICY NO.        EON G21654115 006

     NAME OF INSURED:          The Walt Disney Company

     ADDRESS:                  500 S. Buena Vista Blvd.
                               Burbank, CA 91521

     We are pleased to enclose your policy for this account.

     Please be advised that by binding this risk with the above referenced Surplus Lines Insurance Company,
     you agree that as the Surplus Lines Broker responsible for the placement of this insurance policy, it is
     your obligation to comply with all States Surplus Lines Laws including completion of any
     declarations/affidavits that must be filed as well as payment of any and all Surplus Lines taxes that must
     be the remitted to the State(s). We will look to you for indemnification if controlling Surplus Lines Laws are
     violated by you as the Surplus Lines broker responsible for the placement.

     You further confirm that any applicable state requirement concerning a diligent search for coverage by
     admitted carriers has been fulfilled in accordance with state law.

     Thank you for this placement and your regulatory compliance.

     Date: 05/16/2012




     WSG-084 (05/11)
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                         Illinois Union Insurance Company
                         Westchester Surplus Lines Insurance Company




Insured:       The Walt Disney Company                     Attached To Policy No.: G21654115 006

                                                           Effective Date: 05/01/2012




                        CALIFORNIA SURPLUS LINES NOTIFICATION
                                              NOTICE:
1.   THE INSURANCE POLICY THAT YOU (HAVE PURCHASED) (ARE APPLYING TO
     PURCHASE) IS BEING ISSUED BY AN INSURER THAT IS NOT LICENSED BY THE
     STATE OF CALIFORNIA. THESE COMPANIES ARE CALLED "NONADMITTED" OR
     "SURPLUS LINE" INSURERS.
2.   THE INSURER IS NOT SUBJECT TO THE FINANCIAL SOLVENCY REGULATION
     AND ENFORCEMENT THAT APPLY TO CALIFORNIA LICENSED INSURERS.
3.   THE INSURER DOES NOT PARTICIPATE IN ANY OF THE INSURANCE
     GUARANTEE FUNDS CREATED BY CALIFORNIA LAW. THEREFORE, THESE
     FUNDS WILL NOT PAY YOUR CLAIMS OR PROTECT YOUR ASSETS IF THE
     INSURER BECOMES INSOLVENT AND IS UNABLE TO MAKE PAYMENTS AS
     PROMISED.
4.   THE INSURER SHOULD BE LICENSED EITHER AS A FOREIGN INSURER IN
     ANOTHER STATE IN THE UNITED STATES OR AS A NON-UNITED STATES (ALIEN)
     INSURER. YOU SHOULD ASK QUESTIONS OF YOUR INSURANCE AGENT,
     BROKER, OR "SURPLUS LINE" BROKER OR CONTACT THE CALIFORNIA
     DEPARTMENT OF INSURANCE AT THE FOLLOWING TOLL-FREE TELEPHONE
     NUMBER: 1-800-927-4357. ASK WHETHER OR NOT THE INSURER IS LICENSED
     AS A FOREIGN OR NON-UNITED STATES (ALIEN) INSURER AND FOR
     ADDITIONAL INFORMATION ABOUT THE INSURER. YOU MAY ALSO CONTACT
     THE NAIC'S INTERNET WEB SITE AT WWW.NAIC.ORG.




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5.   FOREIGN INSURERS SHOULD BE LICENSED BY A STATE IN THE UNITED
     STATES AND YOU MAY CONTACT THAT STATE'S DEPARTMENT OF INSURANCE
     TO OBTAIN MORE INFORMATION ABOUT THAT INSURER.
6.   FOR NON-UNITED STATES (ALIEN) INSURERS, THE INSURER SHOULD BE
     LICENSED BY A COUNTRY OUTSIDE OF THE UNITED STATES AND SHOULD BE
     ON THE NAIC'S INTERNATIONAL INSURERS DEPARTMENT (IID) LISTING OF
     APPROVED NONADMITTED NON-UNITED STATES INSURERS. ASK YOUR AGENT,
     BROKER, OR "SURPLUS LINE" BROKER TO OBTAIN MORE INFORMATION
     ABOUT THAT INSURER.
7. CALIFORNIA MAINTAINS A LIST OF ELIGIBLE SURPLUS LINE INSURERS. ASK
   YOUR AGENT OR BROKER IF THE INSURER IS ON THAT LIST, OR VIEW THAT
   LIST AT THE INTERNET WEB SITE OF THE CALIFORNIA DEPARTMENT OF
   INSURANCE: WWW.INSURANCE.CA.GOV.
8. IF YOU, AS THE APPLICANT, REQUIRED THAT THE INSURANCE POLICY YOU
   HAVE PURCHASED BE BOUND IMMEDIATELY, EITHER BECAUSE EXISTING
   COVERAGE WAS GOING TO LAPSE WITHIN TWO BUSINESS DAYS OR BECAUSE
   YOU WERE REQUIRED TO HAVE COVERAGE WITHIN TWO BUSINESS DAYS, AND
   YOU DID NOT RECEIVE THIS DISCLOSURE FORM AND A REQUEST FOR YOUR
   SIGNATURE UNTIL AFTER COVERAGE BECAME EFFECTIVE, YOU HAVE THE
   RIGHT TO CANCEL THIS POLICY WITHIN FIVE DAYS OF RECEIVING THIS
   DISCLOSURE. IF YOU CANCEL COVERAGE, THE PREMIUM WILL BE PRORATED
   AND ANY BROKER’S FEE CHARGED FOR THIS INSURANCE WILL BE RETURNED
   TO YOU.




                          Applicant Signature___________________________ Date___________



NOTHING HEREIN CONTAINED SHALL BE HELD TO VARY, ALTER, WAIVE OR EXTEND ANY OF THE
TERMS, CONDITIONS, OR LIMITATIONS OF THE POLICY TO WHICH THIS NOTICE IS ATTACHED
OTHER THAN AS STATED ABOVE.

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                                            U.S. Treasury Department’s Office
                                          Of Foreign Assets Control (“OFAC”)
                                             Advisory Notice to Policyholders



This Policyholder Notice shall not be construed as part of your policy and no coverage is provided by this
Policyholder Notice nor can it be construed to replace any provisions of your policy. You should read your
policy and review your Declarations page for complete information on the coverages you are provided.

This Notice provides information concerning possible impact on your insurance coverage due to directives
issued by OFAC. Please read this Notice carefully.

The Office of Foreign Assets Control (OFAC) administers and enforces sanctions policy, based on Presidential
declarations of "national emergency". OFAC has identified and listed numerous:

          Foreign agents;
          Front organizations;
          Terrorists;
          Terrorist organizations; and
          Narcotics traffickers;

as "Specially Designated Nationals and Blocked Persons". This list can be located on the United States
Treasury's web site – http//www.treas.gov/ofac.

In accordance with OFAC regulations, if it is determined that you or any other insured, or any person or entity
claiming the benefits of this insurance has violated U.S. sanctions law or is a Specially Designated National
and Blocked Person, as identified by OFAC, this insurance will be considered a blocked or frozen contract and
all provisions of this insurance are immediately subject to OFAC. When an insurance policy is considered to be
such a blocked or frozen contract, no payments nor premium refunds may be made without authorization from
OFAC. Other limitations on the premiums and payments also apply.




PF-17914 (2/05)                       Reprinted, in part, with permission of                        Page 1 of 1
                                              ISO Properties, Inc.
     Case 2:17-cv-07598-GW-E Document 1-2 Filed 10/17/17 Page 43 of 94 Page ID #:59




                                      ACE Producer Compensation
                                         Practices & Policies

ACE believes that policyholders should have access to information about ACE's practices and policies related to
the payment of compensation to brokers and independent agents. You can obtain that information by accessing
our website at http://www.aceproducercompensation.com or by calling the following toll-free telephone number:
1-866-512-2862.




ALL-20887 (10/06)
         Case 2:17-cv-07598-GW-E Document 1-2 Filed 10/17/17 Page 44 of 94 Page ID #:60



                                                                                    Access to eRisk Hub®
                                                                                   Notice to Policyholders

This Policyholder Notice shall be construed as part of your policy but no coverage is provided by this Policyholder Notice
nor can it be construed to replace any provisions of your policy. You should read your policy and review your Declarations
page for complete information on the coverages you are provided.
This Notice provides information concerning access to the eRisk Hub®, a private web-based loss prevention portal to help
policyholders manage cyber risk. Founded and managed by NetDiligence, a leading network security and e-risk
assessment services company, the eRisk Hub® is a private, web-based portal containing information and technical
resources that can assist you in the prevention of network and privacy losses and support you in the timely reporting and
recovery if an incident occurs.

The eRisk Hub® portal is an internet-based service that features news, content and access to leading practitioners in risk
management, computer forensics, forensic accounting, crisis communications, legal counsel, and other highly-specialized
segments of cyber risk.

Please note the following:
    1. The eRisk Hub® portal is private and secure. Do not share portal access instructions with anyone outside your
       organization. You are responsible for maintaining the confidentiality of the ACE Access Code provided to you.
    2. The eRisk Hub® portal is for ACE clients only. Up to three individuals from your organization may register and use
       the portal. Ideal candidates include your company’s Risk Manager, Compliance Manager, Privacy Officer, IT
       Operations Manager, or Legal Counsel.
    3. The eRisk Hub® portal contains a directory of experienced providers of cyber risk management and breach
       recovery services. ACE does not endorse these companies or their respective services. Before you engage any
       of these companies, we urge you to conduct your own due diligence to ensure the companies and their services
       meet your needs. Unless otherwise indicated or approved, payment for services provided by these companies is
       your responsibility.
    4. Should you experience a data breach event, you may choose to call the Incident HELP Hotline listed in the portal
       for immediate triage assistance. If you engage this service, it is billable to you at the rate of $200 per hour. Please
       be aware that the hotline service is provided by a third-party network security company. Therefore, calling the
       hotline does NOT satisfy the claim notification requirements of your policy.

To register for the eRisk Hub®:
    1.   Send an e-mail request to eriskhub@ace-ina.com including the following information to obtain a copy of your ACE
         Access Code to the eRisk Hub®:
          a. Your Name (up to three individuals from you organization may register and use the portal)
          b. Your Title
          c. Your Phone Number
          d. Named Insured (Item 1. of your Policy)
          e. Policy Number
         Within four business days you will receive a copy of your ACE Access Code.
    2.   Go to www.eriskhub.com.
    3.   Click on Register.
    4.   Complete the registration form (this will require your ACE Access Code from Step 1 above).
    5.   Once registered, access the portal by going to www.eriskhub.com and completing the Member Login.



PF-27081 (05/09)
 
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                            EXHIBIT 2
     Case 2:17-cv-07598-GW-E Document 1-2 Filed 10/17/17 Page 46 of 94 Page ID #:62



                                                                                                                               CHARTIS'G-




     Why Choose Chartis for your Executive Liability Coverage needs?
     UNDERWRITING EXPERTISE & MARKET DEDICATION
     - Named the #1 provider of Directors & Officers insurance and Employment Practices Liability insurance 1
     - More than four decades of experience and commitment to the market, offering stable, high-limit capacity with a
       diverse appetite for risk
     - Broad and innovative product offering, including unrivaled international capabilities via our Passport platform
     - Ongoing pursuit of outstanding client service through continuous dialogue and client feedback response
     - Over 350 dedicated underwriting professionals with an average of 10 years of industry experience
     - A dedicated legal staff skilled in developing manuscript solutions tailored to client coverage needs
     - Regional offices provide local underwriting presence and authority, delivering expertise and solutions across all lines of
       business
       Specialized underwriting and claims units focused on key segments, including Errors and Omissions, Financial
       Institutions, Fidelity and Private and Non-Profit
       Large geographic footprint that benefits companies doing business in multiple international jurisdictions
       Nearly 20,000 unique policyholders'


    SUPERIOR CLAIMS MANAGEMENT
    - We have a claims staff of 300 who manage 30,000 new claims per year, averaging 2,250 new claims per month
    - Our claims management team has an average of 15 years of industry experience for management
    - Total payments made by Executive Liability on behalf of its insureds in 2009 totaled more than $1.9 billion
                                                                                                                                      3
    - Resolved claims exceeding $9 million in value have increased over 850 percent since 1996
    - The top 25 claims paid by Executive Liability in 2009 totaled over $300 million


    CHARTIS FINANCIAL SNAP· SHOT
    - Chartis U.S. Policyholder Surplus is $28 billion4 (increased 58% from 12/31/05 to 12/31/09)
    - In 2009, Chartis companies wrote in excess of $40 billion gross written premiums worldwide
    - Chartis has ample resources to pay policyholder claims, paying $71 million in claims worldwide every business day 1 in
      2009
    - Objective sources confirm our company's strong financial standing. From rating agencies to broker assessments,
      metrics in the insurance industry indicate that Chartis remains one of the most financially secure insurance
      organizations
    - Our financial strength combined with our experience, global reach and broad range of product and service offerings,
      solve the insurance needs of 40 million clients worldwide


      STAYING POWER
      Our consistent market leadership and commitment has last8d for more than four decades, while other carriers shift their
      focus and support from year-to-year. Our global underwriting capacity, philosophy and expertise-coupled with our local
      presence-enables Executive Liability to assess the most complex risks and respond rapidly when unforeseen events occur.


1 The Risk and !nsunince Management Society 2009 Benchmark Survey http://www.rims.org/resources/BenchmarkSurvey/Pages/default.aspx.
2 Does not include Programs or Small Business accounts.
3 NERA Economic Consulting.
4 Year ended December 31, 2009.
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INNOVATIVE SOLUTIONS
Management Liability
Executive Edge5 M: Primary public company D&O coverage with market leading features, including advancement of covered loss for directors
and officers when the company fails or refuses to indemnify for any reason, worldwide investigation and inquiry coverage and a simplified
"entity vs. insured" exclusion in place of the "insured vs. insured" exclusion.
Executive Shield: Follow form excess Side-A Directors & Officers Liability Insurance with Difference In Conditions coverage that is distinct
from other Side-A DIC policies. The policy provides individual directors and officers with the coverage they need to protect themselves and
their assets when facing a claim.
PrivateEdge Plus: A flexible modular package that offers market-leading management and professional liability coverage for private companies
of any size. Choose one or combine multiple coverage options to customize a comprehensive program that meets specific business needs.
                                     ®
Not-for-Profit-Risk-Protector : A flexible modular package policy designed to help non-profit organization clients manage their management
liability and other liability risks. Choose one or combine multiple coverage options to customize a comprehensive program that meets specific
business needs. The policy is available to all non-profit organizations regardless of revenue, asset size or employee count.
Public Entity Plan and Trustee Protector: A policy that protects individuals who manage governmental entity employee benefit plans from
fiduciary liability exposures.
Financial Institutions Risk Protector®: A modular package of management and professional liability coverages for private and public financial
institutions. Coverages can be bundled into One policy to provide flexible protection tailored for a financial institution's full spectrum of
management and professional liability risks.
Excess EdgesM: Follow form excess management and professional liability coverage that reduces the administrative burden facing brokers
and their clients when placing excess insurance for directors and officers liability, employment practices liability, fiduciary liability, errors and
omissions liability, and other executive liability exposures.

Professional Liability
Specialty Risk Protector®: A modular package of professional liability and data network security coverages for alt types of businesses.
Businesses can bundle multiple lines of coverage into one policy.
Corporate Counsel Premier®: Provides general counsel and other in-house attorneys employed by public and private companies with coverage
for claims alleging professional malpractice.
Lawyers Professional Liability Program: This admitted program provides broad coverage for attorneys and includes crisis management
coverage to help mitigate damage to a law firm's reputation.
Personal Identity Coverage: Enables organizations to extend expert assistance and financial relief to employees, customers or members who
are victims of identity theft. This innovative program combines extensive recovery support as well as reimbursement of costs related to a
theft incident.
Value Added Services
Passport: State-of-the-market approach for multinationals to secure locally-admitted insurance that is in sync with local requirements and
customs, and written in local language worldwide.
EPL Pak® Premier: The Employment Practices Liability Loss Prevention Pack offered through Jackson Lewis, LLP, helps insureds proactively
mitigate employment practices exposures. The program includes both training programs that help instill proper employment practices within
an organization and resources to keep employers informed of changing statutes, regulations and court decisions shaping the employment
landscape.
CrisisFund®: Built-in crisis management enhancement provides policyholders with professional support, including a 24-hour hotline with
access to claims specialists, and immediate funds in the event of a serious crisis. Up to $250,000 of additional policy limits available to
cover immediate expenses and an additional~$50,000 limit to retain the services of a public relations or crisis management firm.
Fidelity Research and Investigative Settle Clause {FRISC): A unique provision in Fidelity policies that allows the insured to select an
investigative specialist or forensic accountant to determine the facts of the case and quantify the loss. This sets the stage for an efficient,
cooperative loss investigation and settlement process that can save the insured time and money. Even if the loss is ultimately determined to
not be covered under the policy, the insurer still pays half of the investigation expenses.
eDi.scovery SolutionS: A litigation-management tool devised to create a strategy to handle the collection of electronically stored information
throughout litigation.
Panel Counsel: Comprised of some of the nation's premier litigators who specialize in defending securities, employment practices, fiduciary
liability and technology litigation. Participating law firms have a proven record of achieving litigation success while maximizing litigation
efficiency. Consistent superior performance is required to maintain a position on the panel.


For more information about Executive Liability, please contact us at
executiveliability@chartisinsurance.com or visit www .chartisinsurance.com.
                                                                                                                                                       CHARTIS('s..
                                                                                                                                                             Your world, Insured

Chartis is a world leading property-casualty and general insurance organization serving more than 40 million clients in over 160 countries and jurisdictions. With a 90-year history, one of
tho industry's most extensive ranges of products and services, deep claims expertise and excellent financial strength, Chartis enables its commercial and personal insurance clients alike to
manage virtually any risk with confidence.
Chartis is the marketing nama for the worldwide property-casualty and general insurance operations of Chartis Inc. For additional Information, please visit our website at
www.chartisinsurance.com. All products are written by insurance company subsidiaries or affiliates of Chartis Inc. Coverage may not be available in all jurisdictions and is subject to actual
policy language. Non-insurance products and services may be provided by independent third parties. Certain coveraga may ba provided by a surplus lines insurer. Surplus lines insurers do
not generally participate in state guaranty funds and insureds are therefore not protected by such funds.
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                            POLICYHOLDER NOTICE

   Thank you for purchasing insurance from the Chartis companies. Chartis insurance
   companies generally pay compensation to brokers and independent agents, and
   may have paid compensation in connection with your policy. You can review and
   obtain information about the nature and range of compensation paid by Chartis
   insurance companies to brokers and independent agents in the United States by
   visiting our website at www .chartisinsurance.com/producercompensation or by
   calling 1-800-706-3102.




    91222 (12/09)
       Case 2:17-cv-07598-GW-E Document 1-2 Filed 10/17/17 Page 49 of 94 Page ID #:65



                                      Chartis Specialty Insurance Company                           CHARTIS'C-
                                                  A capital stock company
                                THIS INSURER IS NOT LICENSED IN THE STATE OF NEW YORK
                                        AND IS NOT SUBJECT TO ITS SUPERVISION.

 Policy Number:       01-855-73-58                                                Replacement of:         01-904-32-87


                                                       EXCESS EDGE®
NOTICES: Depending on the terms, conditions and limitations of the Followed Policy, this policy may (1) only
provide coverage for loss from claims first made or first made and reported during its Policy Period; (2) have its
limit of liability reduced by the payment of defense costs and/or claim expenses, and (3) not impose a duty to
defend on the Insurer. Please read the Followed Policy and this policy carefully and discuss the coverage provided
thereunder and hereunder with your insurance agent or broker.

                                                        DECLARATIONS


, Policyholder:                 ! THE WALT DISNEY COMPANY                C                          C

, Policyholder Address:          500 S BUENA VISTA ST                    ILimit of Liability:       I$                   25,000,000
                                 BURBANK, CA 91521-6709                  C                          I
                                                                         ITotal Underlying Limits:! $                   40,000,000

 Policyholder Domicile:         . California                                 Policy Period: From:   '                  May 1, 2012
. Insurer Address:               175 Water Street, 18th Floor                              To:                         May 1, 2013
                                 New York, NY 10038                          Premium:               !$                       540,000
, Claims Address:     e-mail:    c-claim@chartisinsurance.com
                      Mail:      Chartis, Financial Lines Claims
                                 P.O. Box 25947
                                 Shawnee Mission, KS 66225

                                               SCHEDULE OF UNDERLYING COVERAGE

D~-~J~                                                                          ]L __   Jl_~~[Ymft _I;          1_      IAl1.®'1~l_
                                                                                                                      0510112012 to
      Illinois Union Insurance Company                G21654115006                       $15,000,000'
                                                                                         Primary                      0510112013

      Beazley                                         B0823QK1201614                     $15,000,000    XS            0510112012 to
                                                                                         $15,000,000                  0510112013
      Swiss Re                                        H2X0000509-00                      $10,000,000    XS            05/01/2012 to
  *                                                                                      $30,000,000                  05/01/2013




 The Policy Penod incepts and expires as of 12:01 A.M. at the Policyholder Address. Terms with "Bold" typeface
 are used in this policy with the meanings and values ascribed to them above; however, subject to the Changes
 clause, the "Followed Policy" means the policy in the Schedule with an "*" at the beginning of its row, but only
 with respect to the following Followed Coverage Section(s): tech, media, sec/priv, em.




      1145656
 103485 (02/10)                                                    -1-                                  ¢} Chartis Inc. Alt rights reserved.
    Case 2:17-cv-07598-GW-E Document 1-2 Filed 10/17/17 Page 50 of 94 Page ID #:66

In consideration of the payment of the premium, Chartis Specialty Insurance Company (the "Insurer" I and
insureds agree as follows:
    INSURING      This policy shall provide coverage in accordance with the same terms, conditions and·
  AGREEMENT       limitations of the Followed Policy, as modified by and subject to the terms, conditions and
                  limitations of this policy.
                  The Insurer's coverage obligations under this policy attach to the Insurer only after the Total
                  Underlying Limits have been exhausted through payments by, on behalf of or in the place of
                  the Underlying Insurers of amounts covered under the Underlying Policies. This policy shall
                  continue in force as primary insurance only upon the exhaustion of the Total Underlying
                  Limits by reason of such payments and satisfaction of any applicable retention. This policy
                  shall recognize erosion of an Underlying Limit of an Underlying Policy through payments by
                  others of covered amounts under that Underlying Policy. The risk of uncollectability of any
                  part of the Total Underlying Limits, for any reason, is expressly retained by the Policyholder
                  and any insureds, and is not insured under this policy or assumed by the Insurer.
     LIMIT OF     The Limit of Liability is the aggregate limit of the Insurer's liability for all coverage under this
     LIABILITY    policy.
     NOTICES  Where the Followed Policy requires or permits notice to its insurer, the Policyholder or the
              insureds have the same obligations and rights to notify the Insurer under this policy, except
              that with respect to this policy, any notice to the Insurer must be directed as follows: (ii for
              claims-related matters, by mail or e-mail to the Claims Address; and (iii for all other notices,
              by mail to the Insurer Address.
              The Insurer shall have the same rights, privileges and protections afforded to the Underlying
      RIGHTS
              Insurer of the Followed Policy in accordance with the terms, conditions and limitations of
              the Followed Policy. The Insurer shall also have the right, in its sole discretion, but not the
              obligation, to effectively associate with the insureds in the defense and settlement of any
              claim that appears to be reasonably likely to involve the Insurer. The Policyholder, its
              subsidiaries and any insureds shall provide the Insurer with such information, assistance and
              cooperation as the Insurer may reasonably request and shall not do anything that prejudices
              the Insurer's position or potential rights of recovery.
              The Insurer has issued this policy in reliance upon the completeness and accuracy of the
     RELIANCE
              applications, warranties, statements, the binders for the Underlying Policies, any
              attachments thereto and any other materials submitted for this policy, which shall be
              deemed attached hereto and made a part hereof.
     CHANGES      If, subsequent to the issuance of the Followed Policy, the terms, conditions or limitations of
                  an Underlying Policy are modified, the insureds must notify the Insurer in writing, as soon as
                  practicable, of such modification. If any changes to the Followed Policy: Iii expand
                  coverage, (ii) change the policyholder name or address, or (iii) modify premium, this policy
                  shall not follow those changes unless the Insurer reflects its agreement to do so in a written
                  endorsement to this policy.
   IN WITNESS WHEREOF, the Insurer has caused this Policy to be signed by its President,
   Secretary and Authorized Representative. This Policy shall not be valid unless signed below at the
   time of issuance by an authorized representative of the insurer.




            PRESIDENT                     AUTHORIZED REPRESENTATIVE                             SECRETARY


    COUNTERSIGNATURE                             DATE                             COUNTERSIGNATURE LOCATION
 (WHERE REQUIRED BY LAW)
 AON FINANCIAL SERVICES GROUP, INC
 200 E RANDOLPH ST 11 TH FL
 CHICAGO, IL 60601-6436


  1145656
                                                            -2-                            @ Chartis Inc. All rights reserved.
103485 (02/1 0)
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                                               ENDORSEMENT#       1

     This endorsement, effective 12:01 AM                May l, 2012                forms a part of
     policy number   01-855-73-58
     issued to   THE WALT DISNEY COMPANY

     by           Chartis Specialty Insurance Company
                                LIMIT OF LIABILITY AMENDATORY ENDORSEMENT
                                               (Excess of Sublimits)

     In consideration of the premium charged, it is hereby understood and agreed that·the policy
     is amended as follows:

     1. Limit of Liability in the the DECLARATIONS is deleted in its entirety and replaced with
        the following:
          Limit of Liability:
          (i)  Aggregate:                  $25,000,000 in the aggregate for all coverage(s)
                                           and all insured(s) afforded coverage under this
                                           policy combined and excess of Total Underlying
                                           Limits;
          (ii)    Data Breach Fund         $20,000,000 in the aggregate for all Data Breach
                  Sublimit:                Expenses covered under Insuring Agreement E the
                                           Followed Policy;
          (iii)   Regulatory               $20,000,000 in the aggregate for all Damages, and
                  Proceeding Sublimit      Claim Expenses incurred because of all Regulatory
                                           Proceeding Claims      covered   under    Insuring
                                           Agreement C or D of the Followed Policy.

     2. The terms     Claim Expenses, Damages, Data Breach Expenses and Regulatory
          Proceeding Claims shall have the same meaning as ascribed thereto in the Followed
          Policy.

     3. The "LIMIT OF LIABILITY" Clause is deleted in its entirety and replaced with the
          following:

     LIMIT OF          (i)      The Aggregate Limit of Liability set forth in (i) of the Declarations
     LIABILITY                  is the aggregate limit of the Insurer's liability for all coverage
                                under this policy.
                       (ii)     The Data Breach Fund Sublimit set forth in (ii) of the Declarations
                                is the aggregate limit of the Insurer's liability for all amounts set
                                forth in (ii) and is part of, and not in addition to, and in no way
                                increases the aggregate limit of liability set forth in (i).
                       (iii)    The Regulatory Proceeding Sublimit set forth in (iii) of the
                                Declarations is the aggregate limit of the Insurer's liability for all
                                amounts set forth in (iii) and is part of, and not in addition to, and
                                in no way increases the aggregate limit of liability set forth in (i).




MNSCPT                                     END 1
   Case 2:17-cv-07598-GW-E Document 1-2 Filed 10/17/17 Page 52 of 94 Page ID #:68
                                         ENDORSEMENT#     1      (Continued)


     This endorsement, effective 12:01 AM         May l, 2012               forms a part of
     policy number 01-855-73-58
     issued to   THE WALT DISNEY COMPANY

     by     Chartis Specialty Insurance Company

     4. The second paragraph in the "INSURING AGREEMENT"               Clause is amended      by
        appending the following at the end thereof:

     INSURING           Notwithstanding the foregoing, this policy shall continue in force as
     AGREEMENT          primary insurance upon exhaustion of the sub-limits in the Followed
                        Policy for any amounts described in (ii) through (iii) of the
                        Declarations, but solely with respect to such amounts that are
                        otherwise covered and solely up to the amount of this policy's
                        sub-limit for such amounts as set forth in (ii) through (iii). The Insurer
                        shall not be responsible for any other Loss until the exhaustion of the
                        Total Underlying Limits.




     ALL OTHER TERMS, CONDITIONS AND EXCLUSIONS REMAIN UNCHANGED.




                                                                AUTHORIZED REPRES1ENTATIVE
                                                       Or Countersignature (In states where applicable)
                                     ©   Chartis Inc. All rights reserved.
MNSCPT                             END 1
     Case 2:17-cv-07598-GW-E Document 1-2 Filed 10/17/17 Page 53 of 94 Page ID #:69
                                                ENDORSEMENT#       2

       This endorsement, effective 12:01 AM              May 1. 2012                forms a part of
       policy number   01-855-73-58
       issued to   THE WALT DISNEY COMPANY

       by        Chartis Specialty Insurance Company
                                 NOTICE OF CLAIM (REPORTING BYE- MAIL)
       In consideration of the premium charged, it is hereby understood and agreed as follows:

       1.       Email Reporting of Claims : In addition to the postal address set forth for any
                Notice of Claim Reporting under this policy, such notice may also be given in writing
                pursuant to the policy's other terms and conditions to the Insurer by email at the
                following email address:

                c-claim@chartisinsurance.com

                Your email must reference the policy number for this policy. The date of the
                Insurer's receipt of the emailed notice shall constitute the date of notice. In addition
                to Notice of Claim Reporting via email, notice may also be given to the Insurer by
                mailing such notice to: Chartis, Financial Lines Claims, P.O. Box 25947, Shawnee
                Mission, KS 6622.5 or faxing such notice to (866) 227-1750.

       2.       Definitions: For this endorsement only, the following definitions shall apply:

                                                                                       11
                (a)    "Insurer" means the "Insurer, 11 11 Underwriter" or "Company or other name
                       specifically ascribed in this policy as the insurance company or underwriter
                       for this policy.

                (b)    "Notice of Claim Reporting" means "notice of claim/circumstance," "notice
                       of loss" or other reference in the policy designated for reporting of claims,
                       loss or occurrences or situations that may give rise or result in loss under
                       this policy.

                (c)    "Policy" means the policy, bond or other insurance product to which this
                       endorsement is attached.

       3.       This endorsement does not apply to any Kidnap & Ransom/Extortion Coverage
                Section, if any, provided by this policy.


       ALL OTHER TERMS, CONDITIONS AND EXCLUSIONS REMAIN UNCHANGED.




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                                                              Or Countersignature (In states where applicable)
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99758 (08/08)                             END2
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                                         ENDO!lSEMENT#       3


      This endorsement, effective 12:01 AM        May l, 2012               forms a part of
      policy number   01-855-73-58
      issued to THE WALT DISNEY COMPANY


      by       Chartis Specialty Insurance Company

               THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                               COVERAGE TERRITORY ENDORSEMENT

      Payment of loss under this policy shall only be made in full compliance with all United
      States of America economic or trade sanction laws or regulations, including, but not
      limited to, sanctions, laws and regulations administered and enforced by the U.S. Treasury
      Department's Office of Foreign Assets Control ("OFAC").




                                                                  AUTHORIZED REPRESENTATIVE
                                                     Or Countersignature (In states where applicable)


                                         0 All rights reserved.
                                             END 003
89644 (7/05)                                  Page 1 of 1
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                                          ENDORSEMENT# 4



This endorsement, effective 12:01 AM       May l, 2012                     forms a part of
policy number   01-855-73-58
issued to THE WALT DISNEY COMPANY


by       Chartis Specialty Insurance Company
                                     FORMS INDEX ENDORSEMENT
The contents of the Policy is comprised of the following forms:
                       EDITION
FORM NUMBER             DATE                       FORM TITLE
103485                  02/10 EXCESS DEC AND POLICY - CSIC - NONADMITTED
MNSCPT                           LIMIT OF LIABILITY AMENDATORY ENDORSEMENT
99758                   08/08 NOTICE OF CLAIM (REPORTING BY E-MAIL)
89644                   07105 COVERAGE TERRITORY ENDORSEMENT (OFAC)

78859                    10/01 FORMS INDEX ENDORSEMENT
        ALL OTHER TERMS, CONDITIONS AND EXCLUSIONS REMAIN UNCHANGED.

                                                                        4?J /;!) 1/L    I
                                                                      AUTHORIZED REPRESENTATIVE
                                                            Or Countersignature (In states where applicable)




                                            END 004
78859 (10/01)                                Page 1 of 1
Case 2:17-cv-07598-GW-E Document 1-2 Filed 10/17/17 Page 56 of 94 Page ID #:72


                                                                             CHARTIS'(,_
                                     CLAIM REPORTING FORM

  Issuing Company:   Chartis Specialty Insurance Company
  Reported under Policy/Bond Number:       01-855-73-58            Date: _ _ _ _ __


  Type of Coverage: D&O - - E&O - -            Fidelity - - (complete the Fidelity Supplemental on
                                                            the next page)
  lnsured's Name, as given on Policy Declarations (Face Page):

           THE WALT DISNEY COMPANY




  Contact Person:
                    ----------------------------
  Tit Ie: - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

  Phone:_( _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Ext _ _ _ _ _ _ _ _ _ _ _ _ _ __


  eMail: - - - - - - - - - - - - - - - - - - @ - - - - - - - - - - - - -



  Case or Claimant Name:



  If the party involved is different from ;'Insured" Name (as given on Policy Declarations) state
  relationship:




  Insurance Broker/Agent:    AON FINANCIAL SERVICES GROUP, INC

  Address:    200 E RANDOLPH ST 11TH FL, CHICAGO, IL 60601-6436
  Address: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

                                                         Phone:. _ _ _ _ _ _ _ _ _ _ __
  Contact:    JOHN BROSNAN

  eMail:    ,iohn.brosnan@aon.com



  Send Notice of Claims to:     Chartis                          Phone: (888) 602- 5246
                                Financial Lines Claims           Fax:   (866) 227- 1750
                                P.O. Box 25947                   Email: c- Claim@chartisinsurance.com
                                Shawnee Mission, KS 66225
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                                                                                 CHARTIS'C-
                                   · CLAIM REPORTING FORM
                                     FIDELITY SUPPLEMENTAL
   (Only complete this supplemental if the Claim is being reported under Fidelity Coverage)


  Issuing Company:     Chartis Specialty Insurance Company
  Reported under Policy/Bond Number:        01-855-73-58




  Date of Discovery:                              Estimated Amount of loss: - - - - - - - - - -


  Cause of Loss:     Employee Dishonesty                     Computer Fraud

                     Funds Transfer                          Robbery/ Burglary


                     ID Theft                                Forgery


                     Client Property                         In Transit


                     ERISA                                   Credit Card Forgery


                     Other                              if Other, describe:




  Send Notice Of Claims To:      Chartis                          Phone: (888) 602- 5246
                                 Financial Lines Claims           Fax:   (866) 227- 1750
                                 P.O. Box 25947                   Email: c- Claim@chartisinsurance.com.
                                 Shawnee Mission, KS 66225




                         centralized Customer Link and Information Management
Case 2:17-cv-07598-GW-E Document 1-2 Filed 10/17/17 Page 58 of 94 Page ID #:74




                            EXHIBIT 3
         Case 2:17-cv-07598-GW-E Document 1-2 Filed 10/17/17 Page 59 of 94 Page ID #:75

                                        KAS OWJT Z B EN SON T on H. ES LLP
                                                        1633 BROADWAY                              A TLANTA
                                                                                                   HOUSTON
                                                   N EW YORK, NEW YO RK 10 0 19                  L OS ANGELE S
                                                                                                     M IA M I
DIRECT D IAL: (2 12) 506 - 17 77                         (212 } 506- 1700
                                                                                                    NEWAR K
D1 RECT f!'AX : (2 12) 63 5 - 507 7
    M80WE@KAS0WITZ.COM                                FAX: ( 2 12> 506- 1800                    $AN FRA NCISCO
                                                                                                S ILICON VAL L EY
                                                                                                WASH I NGTON    DC




                                                                               J une 22, 2017

            By Emai l

            Mart i n H . Myers, Esq .
            Covington & Burling LLP
            One Front Street
            San Francisco , CA 94111 - 5356

            Rukesh A . Korde, Esq .
            Covington & Burling LLP
            One CityCenter
            850 Tenth ' Street , NW
            Washington, DC 20001 - 4956

                        I nsured:
                        Claimant:
                        Policy Nos:
                                                                     .. _
                                                The Walt Disney Company

                                                01-855-73-58 (Chartis Specialty)
                                                023810889 (Chartis Excess Limited)
                        Cl aim Nos.:            5 50-099453 & 5 5 0-100 7 24

            Dear Counsel :

                   We wr ite on b ehalf of Cha rtis Specialty Insurance Company
             ("CSIC") and Chartis Excess Limi ted ("Chartis Ex cess", toge t her
            wi t h CSIC, the "AI G Insurers") in respon se to your June 20, 20 17
            l etter and to follow up on t h e parties' recent correspondence.

                                      lette r seeks ( 1) the AIG Insurers' consent to and

                                 CSIC Policy No . 0 1- 855-73-58 and Chartis
            Excess Policy No. 550-099453 (the "Policies"), and (2) the AIG
            Insurers' commitment to


                 With regard to you r first request, as t h e AIG I nsurers
            previous l y articulated to you (and as acknowledged in your June
            20 le t ter), t h e AIG Insurers will not r aise lack of consent as a
            coverage defense under the Polic i es. By agreeing to not raise
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 KA SOW l   ·r 'L. B E   N SON   TO n   H [ S L Lt'

 Martin H. Myers, Esq.
 Rukesh A. Korde, Esq.
 June 22, 2017
 Page 2

 lack of consent as a coverage defense under the Policies, the
 AIG Insurers are not agreeing with the propriety of your advance
 request for settlement authority



      With regard to your second request, for the reasons the AIG
 Insurers previously articulated to you, the AIG Insurers do not
 believe that there is indemni ty coverage under the Policies for
 a settlement of the 11111 matter and thus do not agree to
 contribute towards such settlement .

      In an effort to try to find a potential path forward, and
 pursuant to Section XIX of I llinois Union Policy No.
 G21654115006 (05/01/2012 - 05/0l/2013) as ultimately followed by
 Chartis Specialty Policy No. 01-855-73-58 (05/0l/2012-
 05/01/2013), Chartis Specialty formally commences non- binding
 mediation to address The Walt Disney Company's claim for
 indemnity coverage under the Policy No. 01-855 - 73- 58 (Claim No.
 550-099453).

      If you are agreeabl e, we would also suggest including
 Charis Excess Policy No. 23810889 (Claim No. 550-100724) in the
 mediation proceeding, without waiver to either party's dispute
 resolution rights.

      We propose using JAMS as a mediation facility in New York,
 NY.  Please let us know if this mediation facility and location
 is acceptable to you, or if you have an alternate suggestion.

                                                      Sincerely,



                                                      Michael J. Bowe


 cc:   Alexander B . Simkin (Kasowitz)         (via asimkin@kasowitz . com)
Case 2:17-cv-07598-GW-E Document 1-2 Filed 10/17/17 Page 61 of 94 Page ID #:77

 KASOWT TZ B .E NSO N T O H HES LLP


 Mart in H. Myers, Esq .
 Rukesh A. Korde, Esq .
 June 22, 2017
 Page 3
Case 2:17-cv-07598-GW-E Document 1-2 Filed 10/17/17 Page 62 of 94 Page ID #:78




                            EXHIBIT 4
Case 2:17-cv-07598-GW-E Document 1-2 Filed 10/17/17 Page 63 of 94 Page ID #:79




 By Email and Mail                                                    June 28, 2017

 Michael J. Bowe, Esq.
 KASOWITZ BENSON & TORRES
 1633 Broadway
 New York, New York 10019


        Re:     Insured:     The Walt Disney Company/
                Claimant:
                Policy Nos.: 01-855-73-58 (Chartis Specialty)
                             023810889 (Chartis Excess Limited)
                Claim Nos.: 550-099453
                             550-100724

 Dear Mr. Bowe:

         As you know, we represent The Walt Disney Company and affiliated insureds
 (collectively “Disney”) in connection with insurance coverage under the Chartis Specialty and
 Chartis Excess Media Liability Policies listed above for the claims asserted by
                                                            . This responds to your letter of June
 22, 2017 on behalf of the Chartis/AIG insurers (collectively “AIG”) to me and Marty Myers, and
 to Mr. Simkin’s June 27, 2017 email to Karen Kridel-Schwabe regarding the        Litigation
 settlement.

         First, thank you for AIG’s waiver of a consent-to-settle coverage defense under the
 Policies. Second, as we have conveyed in separate correspondence with Ms. Hirschorn, AIG’s
 position denying any possible indemnification obligation under the Policies for the
 Litigation is seriously in error, and Disney reserves all rights in that regard. In any event, as we
 expect the
                                     , we will require AIG to cover                  defense costs,
 including without limitation those incurred for the        trial but not yet billed and those related
 to wrapping up the        Litigation.

        Third, your June 22 letter claims that AIG “formally commences non-binding mediation”
 under the Policies. Respectfully, Disney does not believe that AIG can unilaterally “commence”
 mediation under the ADR clause. Rather, Disney regards AIG’s position as “electing” mediation
 pursuant to that clause. Disney has not determined at this time what ADR process it will elect
 with respect to this Claim. As you know, the      Parties have just executed a settlement
 agreement, the terms of which will not be fully consummated for another two months. Also, we
 do not yet know the Disney team’s availability for ADR proceedings.
Case 2:17-cv-07598-GW-E Document 1-2 Filed 10/17/17 Page 64 of 94 Page ID #:80



 Michael J. Bowe, Esq.
 June 28, 2017
 Page 2


         Once the    Litigation settlement has been consummated, we expect to be in position to
 elect an ADR option and proceed. Thanks in advance for your cooperation in that regard.

        Disney continues to reserve its rights and remedies.

                                                                  Sincerely,




                                                                 Rukesh A. Korde



 cc:    Alexander Simkin (by email)
Case 2:17-cv-07598-GW-E Document 1-2 Filed 10/17/17 Page 65 of 94 Page ID #:81




                            EXHIBIT 5
       Case 2:17-cv-07598-GW-E Document 1-2 Filed 10/17/17 Page 66 of 94 Page ID #:82




                               KASOWITZ BENSON TORRES LLP
                                                  1633 B R OA DWAY                               ATLANTA
                                                                                                 HOUSTON
                                            NEW YORK, NEW YORK 10019                           Los   ANGELES
                                                                                                     MIAMI
DIRECT DIAL : 212-506 - 1746                      (212) 506-1700
                                                                                                 NEWARK
DIRECT FAX: 212- 835-5008
   ASIMKIN@KASOWITZ COM                         FAX: (212) 506-1800                           SAN FRANCISCO
                                                                                              SILICON VALLEY
                                                                                             WASHINGTON    DC




                                                               July 7, 2017

         By Email

         Rukesh A. Korde, Esq.
         Covington & Burling LLP
         One CityCenter
         850 Tenth Street, NW
         Washington, DC 20001-4956

                  Insured:              The Walt Disney Company
                  Claimant:
                  Policy Nos.:          01-855-73-58 (Chartis Specialty)
                                        023810889 (Chartis Excess Limited)
                  Claim Nos.:           550-099453 & 550-100724

         Dear Mr. Korde:

                We write on behalf of Chartis Specialty Insurance Company ("CSIC") and Chartis
         Excess Limited ("Chartis Excess", together with CSIC, the "AIG Professional Liability
         Insurers") in response to your June 28, 2017 letter and to follow up on the parties' recent
         correspondence.

                First, we appreciate the cooperation and professionalism of The Walt Disney Company
         ("Disney") notwithstanding the parties' disagreement as to coverage under the Policies.


                                                                                         and will therefore
         "require AIG to cover                    defense costs, including without limitation those incurred
         for the .   trial but not yet billed and those related to wrapping up the .    Litigation." We are
         not clear what costs you are asking the AIG Professional Liability Insurers to pay. The Insuring
         Agreement of CSIC Policy No. 01-855-73-58 states that "[t]he Insurer's coverage obligations
         under this policy attach to the Insurer only after the Total Underlying Limits have been
         exhausted through payments by, on behalf of or in the place of the Underlying Insurers of
         amounts covered under the Underlying Policies." Likewise, the definition of Claims Expenses
Case 2:17-cv-07598-GW-E Document 1-2 Filed 10/17/17 Page 67 of 94 Page ID #:83

 Rukesh A. Korde, Esq.
 Page 2

 incorporated by reference into the CSIC Policy is, in relevant part, "reasonable and necessary
 attorneys' fees, expert witness fees and other fees and costs incurred by the Insurers, or by the
 Insured with the Insurer's prior written consent (which consent shall not be unreasonably
 withheld), in the investigation and defense of a covered Claim." CSIC is happy to consider
 payment of reasonable defense costs to the extent such costs exceed -              (the underlying
 limits) and otherwise comply with the policy's terms.

        Third, your letter argues that CSIC can only commence mediation with Disney's consent.
 We do not believe that is correct. However, the dispute may be academic in the event that
 Disney agrees to mediation. We look forward to hearing from you in this regard.

        The AIG Professional Liability Insurers continue to reserve all rights and remedies.

                                                      Very truly yours,



                                                      Alexander B. Simkin


 cc:    Michael J. Bowe (Kasowitz) (via asimkin@kasowitz.com)
Case 2:17-cv-07598-GW-E Document 1-2 Filed 10/17/17 Page 68 of 94 Page ID #:84




                            EXHIBIT 6
Case 2:17-cv-07598-GW-E Document 1-2 Filed 10/17/17 Page 69 of 94 Page ID #:85



COVINGTON                                                          Martin Myers
BEIJING   BRUSSELS     LONDON    LOS ANGELES                       Covington & Burling LLP
NEW YORK       SAN FRANCISCO    SEOUL                              One Front Street
SHANGHAI       SILICON VALLEY   WASHINGTON                         San Francisco, CA 94ill-5356
                                                                   T + 1415 591 7026
                                                                   mmyers@cov.com




By Mail and E-mail                                              September 1, 2017

Michael J. Bowe, Esq.
KASOWITZ BENSON & TORRF.S
1633 Broadway
New York, New York 10019


           Re:        Insured:     TheWaltDisneyCompany/-
                      Claimant: -
                      Policy Nos.: ~ s Specialty)
                                   023810889 (Chartis Excess Limited)
                      Claim Nos.: 550-099453
                                         550-100724
Dear Mr. Bowe:

        As you know, we represent The Walt Disney Company and affiliated insureds
(collectively "Disney") in connection with insurance coverage under the Chartis Specialty and
Chartis Excess Media Liability Policies listed above for the claims asserted bylllllllllllllll
                                                            . This further r e s p o ~
o June 22, 2017 on          o e artis AI msurers collectively "AIG,') to me and Rukesh
Korde, and to Mr. Simkin's June 27, 2017 email to Karen Kridel-Schwabe regarding the.
Litigation settlement. This letter also captures aspects of our telephone conversation on Friday,
September 1, 2017.

        Mr. Korde informed you in his June 28, 2017 letter that once t h e . settlement was
consummated, Disney expected to be in position to elect an ADR Option as it is entitled to do
under the ADR Clause of the Illinois Union Policy followed by the Chartis Specialty Policy
identified above. As I informed you in our telephone conversation, Disney elects arbitration,
and is commencing an arbitration today in California as provided for by the policies. A copy of
the Arbitration Demand is enclosed.

        Disney has commenced arbitration at JAMS in part based on your proposal that the
parties use JAMS to satisfy the ADR clause and in part based on our client's prior use of JAMS,
and we assume that JAMS is acceptable to AIG. Nevertheless, as I mentioned to you in our
telephone call, Disney is willing to discuss and to negotiate with AIG regarding aspects of the
arbitration, including applicable rules, the participation of your client Chartis Excess Limited,
and other matters.




SF: 263770-1
Case 2:17-cv-07598-GW-E Document 1-2 Filed 10/17/17 Page 70 of 94 Page ID #:86


 COVINGTON
 Michael J. Bowe, Esq.
 September 1, 2017
 Page 2


       We look forward to further discussing these arbitration specifics with you at your earliest
 opportunity.



                                                            Very truly yours,




Attachment
cc:   Alexander Simkin (by email; w/attachment)
Case 2:17-cv-07598-GW-E Document 1-2 Filed 10/17/17 Page 71 of 94 Page ID #:87




                            EXHIBIT 7
        Case 2:17-cv-07598-GW-E Document 1-2 Filed 10/17/17 Page 72 of 94 Page ID #:88

                              KASOWITZ BENSON TORRES                                 LLP
                                                  1633 BROADWAY                                     ATLANTA
                                                                                                   HOUSTON
                                            NEW YORK, NEW YORK 10019                             LOS ANGELES
      MICHAEL J. BOWE                                                                                MIAMI
DIRECT DIAL: (212) 506-1777                        (212) 506-1700
                                                                                                    NEWARK
DIRECT FAX: (212) 835-5077
    MBOWE@KASOWITZ.COM                           FAX: (212) 506-1800                            SAN FRANCISCO
                                                                                                SILICON VALLEY
                                                                                                WASHINGTON DC




                                                                         September 12, 2017


         By Email

         Martin Myers, Esq.
         Covington & Burling LLP
         One Front Street
         San Francisco, California 94111-5356

                  Re:     Insured:     The Walt Disney Company
                          Claimant:
                          Policy Nos.: 01-855-73-58 (Chartis Specialty)
                                       023810889 (Chartis Excess Limited)
                          Claim Nos.: 550-099453, 550-100724

         Dear Mr. Myers:

                We write in response to your September 1, 2017 letter, to follow up on our September 7,
         2017 meeting, and with regard to The Walt Disney Company (“Disney”)’s purported attempt to
         commence arbitration before the Judicial Arbitration Mediation Service (“JAMS”) pursuant to
         Chartis Specialty Insurance Company (“CSIC”) Policy No. 01-855-73-58 (the “CSIC Policy”).

                  As an initial matter, we believe it is too late for Disney to elect arbitration pursuant to the
         CSIC Policy. The alternate dispute resolution provision incorporated into the Policy provides
         that either the “Insured or the Insurer may elect the type of ADR process.” Disney is only
         entitled to supersede the Insurers’ choice of ADR process “prior to its commencement.” CSIC
         “formally commence[d] non-binding mediation” in New York, New York on June 22, 2017.
         Since that time, the parties have been actively mediating. Thus, Disney’s purported election of
         an alternate ADR process on September 1, 2017 is too late and has no impact other than resulting
         in the conclusion and termination of the mediation that has been ongoing since June 22, 2017.
         Unless the parties are able to reach a more comprehensive resolution of the various procedural
         issues facing them (discussed below), CSIC intends to litigate this issue.

                  In the meantime, CSIC objects to using JAMS’s Los Angeles office as an arbitration
         facility. The CSIC Policy provides that any arbitration facility must be one “to which the
         Insured and the Insurer mutually agree.” Disney and CSIC have not agreed on any arbitration
         facility, and Disney’s attempt to unilaterally select one is improper.
Case 2:17-cv-07598-GW-E Document 1-2 Filed 10/17/17 Page 73 of 94 Page ID #:89

 KASOWITZ BENSON TORRES                                 LLP
 Martin Myers, Esq.
 September 12, 2017
 Page 2

         During our call on September 1 and our meeting on September 7, we discussed the fact
 that the parties are facing various procedural issues, including the prospect of multiple litigations
 and/or arbitrations in different venues pursuant to different insurance policies. You proposed a
 dialogue to see if the parties can agree on a procedure to globally resolve their differences across
 the various policies potentially implicated by Disney’s settlement with       . Our client is
 prepared to engage in such a dialogue.

         More specifically, our client would be amenable to using JAMS’s New York office as an
 arbitration facility to jointly resolve coverage issues under both the CSIC Policy and Chartis
 Excess Limited Policy No. 023810889, using an arbitration panel of three disinterested
 individuals selected pursuant to JAMS Arbitration Rules & Procedures. If this is agreeable to
 your client, we would be prepared to forgo litigating the issue of whether Disney’s purported
 election of an ADR process under the CSIC Policy on September 1, 2017 is too late.

        To facilitate an orderly and productive discussion, we also request that Disney confirm its
 agreement that CSIC has no obligation to respond to the purported Arbitration Demand enclosed
 with your September 1 letter at this time. If Disney insists on attempting to proceed with its
 improper arbitration, we will seek appropriate relief.

        We look forward to hearing from you.

                                                               Very truly yours,




 cc:    Alexander Simkin (Kasowitz) (via asimkin@kasowitz.com)
        Rukesh Korde (Covington) (via rkorde@cov.com)
Case 2:17-cv-07598-GW-E Document 1-2 Filed 10/17/17 Page 74 of 94 Page ID #:90




                            EXHIBIT 8
Case 2:17-cv-07598-GW-E Document 1-2 Filed 10/17/17 Page 75 of 94 Page ID #:91



 COVINGTON                                                         Martin Myers
 BEIJING   BRUSSELS   LONDON    LOS ANGELES                        Covington & Burling LLP
 NEW YORK      SAN FRANCISCO   SEOUL                               One Front Street
 SHANGHAI   SILICON VALLEY     WASHINGTON
                                                                   SanFrancisco,CA94ill-5356
                                                                   T +1415 591 7026
                                                                   mmyers@cov.com




By Mail and E-mail                                              September 25, 2017


 Michael J. Bowe, Esq.
 KASowrrz BENSON & TORRES
 1633 Broadway
 New York, New York 10019


            Re:       Insured:     The Walt Disney Company/ABC et al.
                      Claimant: -
                      Policy Nos.: ~ s Specialty)
                                   023810889 (Chartis Excess Limited)
                      Claim Nos.: 550-099453
                                   550-100724


 Dear Mr. Bowe:

        As you know, we represent The Walt Disney Company and affiliated insureds
(collectively "Disney") in connection with insurance coverage under the Chartis S p ~ d
Chartis Excess Limited Media Liability Policies listed above for the claims asserted-


       In anticipation of our call scheduled for tomorrow, this further responds to your letter of
September 12, 2017 and Mr. Simkin's email of September 20, and follows up on our
correspondence and discussions regarding the terms for arbitration(s) of these matters.

        Disney's election of arbitration is timely and binding on AIG under the Chartis Specialty
policy. The applicable ADR clause provides in relevant part: "the Insured shall have the right to
reject the choice by the Insurer of the type of ADR process at any time prior to its
commencement, in which case the choice by the Insured of ADR process shall control." Disney
never agreed to mediate and mediation never commenced or proceeded. In fact, just six days
after AIG notified Disney on June 22, 2017 of AIG's election of mediation, Disney responded
that no mediation had been commenced, and Disney would be in position to make its own
election under the policy "[o]nce the-Litigation settlement has been consummated," which
was expected to occur about two months later. AIG did not object to this time-frame, or make
any attempt to commence mediation. About two months later, shortly after the. Litigation
settlement was consummated, on September 1, 2017, Disney notified AIG that it elected
arbitration and served Chartis Specialty with an Arbitration Demand that it had filed at JAMS in
Los Angeles.


SF: 264724-1
Case 2:17-cv-07598-GW-E Document 1-2 Filed 10/17/17 Page 76 of 94 Page ID #:92


COVINGTON
Michael J. Bowe, Esq.
September 25, 2017
Page2


        Disney is prepared to proceed in that arbitration, though at your request we have
notified JAMS that the parties are attempting to negotiate aspects of the arbitration(s). If AIG
could "commence" mediation simply by saying "we commence mediation" as you contend, the
Insured's right to reject the Insurer's election would be entirely illusory. We do not believe any
court will endorse AI G's position. Disney is prepared to move to compel arbitration at JAMS in
Los Angeles if necessary. Because AIG has requested that the parties use JAMS and the JAMS
Arbitration Rules and Procedures, this letter will confirm that the parties have satisfied Rule
5(a)(1) of those Rules and Procedures. If AIG attempts to bring litigation on this matter, which
we believe would be in further flagrant violation of the Policy, we also remind AIG of its
obligations to the Disney insureds to maintain the confidentiality of matters protected in the
Litigation and its settlement,


        We appreciate that Chartis Excess Limited has agreed to arbitrate this matter at JAMS as
well, and Disney wishes to proceed against both AIG entities in one, consolidated JAMS
proceeding. However, as you know, the arbitration clause in the Chartis Excess Limited policy
provides for arbitration in London, Bermuda, Vancouver or Toronto, at Disney's election. If we
cannot come to voluntary agreement on where and how these arbitrations will proceed, Disney
is prepared to file the attached Arbitration Demand against Chartis Excess Limited in Toronto,
and to move to compel Chartis Excess Limited to participate there. Disney also may move to
consolidate the Los Angeles and Toronto arbitrations.

         In part because of the differing arbitration clauses involved, and in part to ensure that
any award is enforceable and not subject to collateral attack, we believe it is necessary that
Disney on the one hand and both AIG entities on the other enter into a short, further Arbitration
Agreement that clarifies aspects of the arbitration(s). Disney is prepared to proceed in Los
Angeles and Toronto and to default to the JAMS Rules and Procedures if necessary, but as we
have informed you the locations of the panelists or the hearing are less important to Disney than
the selection and composition of the panel, to ensure familiarity with the subject matter of this
dispute. Accordingly, we propose the parties enter a further, formal agreement that provides:
(1) each side picks one JAMS panelist from any location as non-neutral party arbitrator; (2) the
non-neutral panelists select the neutral from any JAMS location, and if they cannot agree the
JAMS default procedures are followed but including panelists with significant insurance
experience from any JAMS location; (3) the panel determines the location(s) for proceedings
including hearing; (4) the arbitration clauses in the policies are superseded by the agreement;
and (5) the parties are free to seek changes to the default JAMS Rules and Procedures during
initial Administrative Conferences and any time before hearing. We are open to suggestion for
further provisions of such an agreement, and we are prepared to draft it once we hear from you.
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 COVINGTON
 Michael J . Bowe, Esq.
 September 25, 2017
 Page 3


         We look forward to further discussing these arbitration specifics ·with you tomorrow.



                                                             Very truly yours,



                                                             COVINGTON & BURLING LLP



                                                             By:   ~\:). ~                       I~
                                                                    Martin H. Myers



 Attachment
 cc:   Timothy Lowman, Esq. (by email; w/attachment)
       Alexander Simkin (by email; w/attachment)
Case 2:17-cv-07598-GW-E Document 1-2 Filed 10/17/17 Page 78 of 94 Page ID #:94




                            EXHIBIT 9
Case 2:17-cv-07598-GW-E Document 1-2 Filed 10/17/17 Page 79 of 94 Page ID #:95




 Via Email                                                                       October 6, 2017

 Kathryn Cisneros
 JAMS LOS ANGELES
 555 West Fifth Street, 32nd Floor
 Los Angeles, CA 90013

          Re:   The Walt Disney Company v. Chartis Specialty Insurance
                Company; Confidential Demand For Arbitration

 Dear Ms. Cisneros:

        I write on behalf of The Walt Disney Company (“Disney”) with regard to the above-
 captioned Demand for Arbitration Disney filed against Chartis Specialty Insurance Company
 (“Chartis Specialty,” a unit of AIG) with JAMS on September 1, 2017.

         As I mentioned to you during our discussion on September 19, 2017, the parties have
 been discussing whether agreement could be reached on multiple items related to this
 arbitration, including the selection of arbitrators. Those discussions have reached their
 endpoint, and the parties have been unable to reach agreement on most issues. Disney therefore
 requests that JAMS immediately begin the three-arbitrator panel selection process specified in
 Rule 15 of the JAMS Comprehensive Arbitration Rules & Procedures (“JAMS Rules”).

         Regarding the parties’ agreement to use JAMS as arbitration provider, as reflected in the
 attached correspondence and in the arbitration clause in the Chartis Specialty policy, the parties
 have agreed that: (1) JAMS will be the arbitration provider; (2) the panel will be comprised of
 three disinterested arbitrators; and (3) the arbitration will proceed under the JAMS Rules. In
 the attached letter dated September 25, 2017 from Disney counsel Martin Myers to Chartis
 Specialty/AIG counsel Michael Bowe, Disney confirmed that Chartis Specialty/AIG had in fact
 agreed to proceed at JAMS under the JAMS Rules and, further, that “the parties have satisfied
 Rule 5(a)(1) of [the JAMS] Rules and Procedures.” September 25, 2017 Myers Letter at p. 2.
 Chartis Specialty has not denied or refuted that confirmation.

         While Chartis Specialty/AIG has agreed to JAMS as arbitration provider, it has declined
 to arbitrate in Los Angeles as the Policy provides, and instead has insisted that it has the right
 either to litigate this matter in court, or to demand that arbitration proceed at JAMS’ offices in
 New York. While we believe there is no merit to Chartis Specialty/AIG’s position, we bring it
 your attention in case Chartis Specialty/AIG files papers regarding this dispute with JAMS’ New
 York office.

         I also write to advise JAMS that Disney will in the near future seek to have a separate
 arbitration proceeding that it is filing with JAMS’ Toronto office against one of Chartis



 SF: 265354-2
Case 2:17-cv-07598-GW-E Document 1-2 Filed 10/17/17 Page 80 of 94 Page ID #:96



 Kathryn Cisneros
 October 6, 2017
 Page 2


 Specialty/AIG’s affiliates consolidated into this arbitration under Rule 6(e) of the JAMS Rules.
 The other proceeding is captioned The Walt Disney Company v. American International
 Reinsurance Company, Ltd., as successor to Chartis Excess Limited, and is being filed with
 JAMS’ Toronto office today. That proceeding involves coverage for the same underlying lawsuit
 under a policy issued by Chartis Specialty/AIG affiliate Chartis Excess Limited (“Chartis
 Excess”). The Chartis Excess/AIG policy is identical in all material respects to the Chartis
 Specialty/AIG policy at issue in the Los Angeles filing, except that it attaches at a higher level
 and has a different arbitration clause. Accordingly, the substantive issues presented in the
 Toronto filing are essentially identical to those presented in the Los Angeles filing. Chartis
 Specialty and Chartis Excess are represented by the same counsel in these proceedings. These
 and other facts will be specified in more detail in a formal request to consolidate that we will
 submit once the JAMS Toronto office has assigned a case manager.

        Thank you for your attention to this matter. Please do not hesitate to contact me should
 you have any questions or concerns.



                                                             Very truly yours,



                                                             COVINGTON & BURLING LLP



                                                             By:     /s/ Jeff Kiburtz
                                                                     Jeffrey A. Kiburtz



 Attachments
 cc:   Michael Bowe, Esq. (by email; w/attachments)
       Alexander Simkin, Esq. (by email; w/attachments)
       Timothy Lowman, Esq. (by email; w/attachments)
Case 2:17-cv-07598-GW-E Document 1-2 Filed 10/17/17 Page 81 of 94 Page ID #:97




                          EXHIBIT 10
       Case 2:17-cv-07598-GW-E Document 1-2 Filed 10/17/17 Page 82 of 94 Page ID #:98


Kiburtz, Jeff

From:                               Michael J. Bowe <MBowe@kasowitz.com>
Sent:                               Friday, October 6, 2017 1:43 PM
To:                                 Myers, Marty; Alexander Simkin
Cc:                                 Korde, Rukesh; Kiburtz, Jeff
Subject:                            Re: TWDC v. AIG;
Attachments:                        image001.jpg


    What is regrettable is that you are obviously an untrustworthy liar.  Your letter to JAMS completely misrepresents our 
discussions. I do thank you though for showing your true colors so that I can proceed accordingly for the remainder of 
these litigations.  See you in court as they say. 
 
Sent from my BlackBerry Smartphone on the Verizon 4G LTE Network 
From: mmyers@cov.com 
Sent: October 6, 2017 4:18 PM 
To: MBowe@kasowitz.com; ASimkin@kasowitz.com 
Cc: rkorde@cov.com; jkiburtz@cov.com 
Subject: TWDC v. AIG;                  
 
 
 
**External Email** 
 
________________________________ 
Please see the attached correspondence and attachments/enclosures. 
 
It is regrettable that Disney and AIG were not able to come to agreement on further aspects of the arbitration(s).  We 
continue to believe that the filing of a lawsuit or lawsuits in this matter would be frivolous and in serious violation of the 
policies and Disney's rights, and we remind AIG that it is required by law and agreement strictly to observe the 
confidentiality of matters relating to the   claim, including without limitation                                        
 
Marty Myers 
 
Covington & Burling LLP 
One Front Street, San Francisco, CA 94111‐5356 T +1 415 591 7026 | mmyers@cov.com 
www.cov.com<http://www.cov.com> 
 
[cid:image001.jpg@01D33EA5.75263300] 
This message is from a law firm and may contain information that is confidential or legally privileged. If you are not the 
intended recipient, please immediately advise the sender by reply e‐mail that this message has been inadvertently 
transmitted to you and delete this e‐mail from your system. Thank you for your cooperation. 
 
 
 
 
 
Michael J. Bowe 
Kasowitz Benson Torres LLP 
1633 Broadway 

                                                               1
      Case 2:17-cv-07598-GW-E Document 1-2 Filed 10/17/17 Page 83 of 94 Page ID #:99
New York, New York 10019 
Tel.  (212) 506‐1777 
Fax. (212) 835‐5077 
MBowe@kasowitz.com 
 
 
This e‐mail and any files transmitted with it are confidential and may be subject to the attorney‐client privilege. Use or 
disclosure of this e‐mail or any such files by anyone other than a designated addressee is unauthorized. If you are not an 
intended recipient, please notify the sender by e‐mail and delete this e‐mail without making a copy. 




                                                             2
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                          EXHIBIT 11
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                              KASOWITZ BENSON TORRES                              LLP
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      MICHAEL J. BOWE
                                                                                                 MIAMI
DIRECT DIAL: (212) 506-1777                      (212) 506-1700
DIRECT FAX: (212) 835-5077
                                                                                                NEWARK
    MBOWE@KASOWITZ.COM                         FAX: (212) 506-1800                          SAN FRANCISCO
                                                                                            SILICON VALLEY
                                                                                            WASHINGTON DC




                                                                      October 9, 2017



         VIA FEDEX AND EMAIL

         Katherine Cisneros
         JAMS Los Angeles
         555 West Fifth Street, 32nd Floor
         Los Angeles, California 90013

                  Re:     The Walt Disney Company v. Chartis Specialty Insurance Company

         Dear Ms. Cisneros:

                We write on behalf of Chartis Specialty Insurance Company (“CSIC”) to correct the
         misstatements and misrepresentations in Jeffrey Kiburtz’s October 6, 2017 letter (the “Letter”)
         on behalf of The Walt Disney Company (“Disney”) regarding Disney’s purported demand for
         JAMS arbitration of its dispute with CSIC.

                  In the Letter, Disney claims that CSIC “has agreed to JAMS as an arbitration provider.”
         That statement is false. The Letter attaches a September 25, 2017 letter that Disney unilaterally
         sent to CSIC, wherein Disney claims that the “parties have satisfied Rule 5(a)(1)” of the JAMS
         Comprehensive Arbitration Rules and Procedures (“JAMS Rules”), meaning that the parties have
         “[a] post-dispute Arbitration Agreement fully executed by all Parties specifying JAMS
         administration or use of JAMS Rules.” See JAMS Rule 5(a)(i). That statement is also false, and
         no such agreement exists. CSIC’s position has consistently been that the parties are required to
         resolve their dispute in a court. See Sept. 12, 2017 CSIC Letter (noting that “CSIC intends to
         litigate” and “[i]f Disney insists on attempting to proceed with its improper arbitration, we will
         seek appropriate relief”) (attached to the Letter); Sept. 20, 2017 CSIC Email (“As discussed, our
         client still believes that Disney is require to litigate its coverage dispute with Chartis Specialty
         Insurance Company (“CSIC”) in a court.”) (annexed hereto). At one point in time, CSIC had
         offered, as a compromise, to consent to arbitration using JAMS’s New York office if Disney
         would agree to certain conditions. But Disney rejected CSIC’s proposal, and thus there is no
         agreement to use JAMS. See Oct. 6, 2017 Disney Email (“It is regrettable that Disney and AIG
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 Ms. Katherine Cisneros
 October 9, 2017
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 were not able to come to agreement”) (annexed hereto). Accordingly, JAMS lacks any authority
 to act on this matter.

         The dispute resolution provision incorporated by reference into the insurance policy
 CSIC sold to Disney makes no reference to JAMS or JAMS Rules. The policy allows either
 party to elect either mediation or arbitration. As indicated in its September 12 letter to Disney,
 which is attached to the Letter, CSIC “formally commence[d] non-binding mediation” in New
 York, New York on June 22, 2017. The parties thereafter actively mediated (not using JAMS).
 The parties’ dispute resolution provision provides that, in these circumstances, “either party shall
 have the right to commence a judicial proceeding; provided, however, that no such judicial
 proceeding shall be commenced until at least 60 days after the date the Mediation shall be
 deemed concluded or terminated.” Disney had the option to reject mediation in favor of
 arbitration, but only “prior to the commencement” of mediation, which it did not do. Even if it
 had done so, the arbitration facility is required to be one to which the parties “mutually agree,”
 and CSIC has not agreed to use JAMS as an arbitration administrator, let alone agreed to JAMS’
 Los Angeles office as an arbitration facility.

        JAMS Rules clearly preclude the relief that Disney seeks through its letter. Pursuant to
 JAMS Rule 5, an arbitration can only be commenced “upon the existence of one of the
 following:”

            (i)   A post-dispute Arbitration Agreement fully executed by all
                  Parties specifying JAMS administration or use of any JAMS
                  Rules; or
            (ii) A pre-dispute written contractual provision requiring the
                  Parties to arbitrate the dispute or claim and specifying
                  JAMS administration or use of any JAMS Rules or that the
                  Parties agree shall be administered by JAMS; or
            (iii) A written confirmation of an oral agreement of all Parties to
                  participate in an Arbitration administered by JAMS or
                  conducted pursuant to any JAMS Rules; or
            (iv) The Respondent's failure to timely object to JAMS
                  administration; or
            (v) A copy of a court order compelling Arbitration at JAMS by
                  all Parties specifying JAMS administration or use of any
                  JAMS Rules.

 JAMS Rule 5(a). Because none of these prerequisites is satisfied, JAMS cannot issue a
 Commencement Letter, and arbitration cannot commence. Disney asserts jurisdiction under
 JAMS Rule 5(a)(1), but provides no “post-dispute Arbitration Agreement fully executed by all
 Parties” – because no such agreement exists.

        In an October 4, 2017 telephone call, counsel for CSIC clearly articulated to Disney’s
 counsel that CSIC did not agree to arbitrate at all, let alone to do so using JAMS Los Angeles.
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 Ms. Katherine Cisneros
 October 9, 2017
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 Disney’s misrepresentation of CSIC’s position is dishonest and disappointing. JAMS is thus not
 empowered to grant any of the requests set forth in the Letter, and it has no jurisdiction over
 CSIC or this dispute. We trust JAMS will refrain from taking any action ultra vires while the
 parties litigate their differences. We would, of course, be happy to discuss with you in a phone
 call if you would find that helpful.

                                                            Very truly yours,




 cc:    Alexander Simkin, Esq. (by email)
        Jeffrey A. Kiburtz, Esq. (by email)
        Martin H. Myers, Esq. (by email)
        Karen Daley (by email and Fedex)
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                             Exh ib its
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Da n ielle G ill

From :                                     Myers, Marty <mmyers@cov.com>
Sen t:                                     Friday, October 6, 2017 4:18 PM
To:                                        Michael J. Bowe; Alexander Simkin
Cc:                                        Korde, Rukesh; Kiburtz, Jeff
Su b ject:                                 TWDC v. AIG;
A tta ch m en ts:                          2017-10-06 Disney Demand to JAMS Toronto (with all attachments).pdf; 2017.10.06
                                           Kiburtz to JAMS re Disney Arbitration.pdf


**External Email**

Please see the attached correspondence and attachments/enclosures.

It is regrettable that Disney and AIG were not able to come to agreement on further aspects of the
arbitration(s). We continue to believe that the filing of a lawsuit or lawsuits in this matter would be frivolous
and in serious violation of the policies and Disney's rights, and we remind AIG that it is required by law and
agreement strictly to observe the confidentiality of matters relating to the      claim, including without
limitation                                    .

Marty Myers
Covington & Burling LLP
One Front Street, San Francisco, CA 94111-5356
T +1 415 591 7026 | mmyers@cov.com
www.cov.com



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Da n ielle G ill

From :                                     Alexander Simkin
Sen t:                                     Wednesday, September 20, 2017 4:16 PM
To:                                        Myers, Marty; Korde, Rukesh
Cc:                                        Michael J. Bowe
Su b ject:                                 RE: Disney v. Chartis Specialty


M arty,

W earefollow inguponourconversationonFriday,S eptem ber15. Asw ediscussed,ourclientstillbelievesthatDisney
isrequireto litigateitscoveragedisputew ithChartisS pecialty InsuranceCom pany (“ CS IC” )inacourt. O urclienthad
offered to forgolitigatingthatissueifDisney w ould agreeto theuseofJAM S ’sN ew Yorkofficeasanarbitrationfacility,
asfurtheroutlined inourS eptem ber12 letter. O nourS eptem ber15 call,you m adeacounterproposalw ithrespectto
ADR processand w ew ritetorespondtothatproposal.

First,ourclientisnotinterested inproceedingw ithparty-appointed arbitrators. T heCS IC policy requiresthatthepanel
“ consistofthreedisinterested individuals” and ourclientisnotw illingtom odify thatprovision. Intheeventthatw e
agreeonanarbitrationfacility,w ebelievethearbitrationpanelshould beselected by them ethodsetforthinR ule15 of
JAM S ’ Com prehensiveArbitrationR ules& P rocedures.

S econd,inanefforttofacilitatecom prom ise,ourclientisw illingto agreethatJAM S canselectoneofthethree
m em bersofthearbitrationpanel,butnottheChairperson,from aJAM S facility otherthantheN ew Yorkfacility
providedthatheorsheagreestotravelto JAM S ’ N ew Yorkfacility forallin-personconferences,argum ents,and/or
hearings.

P leaseletusknow iftheseterm sareacceptableonyourend.

Best,
Alex

From :M yers,M arty [m ailto:m m yers@ cov.com ]
S ent:Friday,S eptem ber15,2017 12:17 P M
T o:AlexanderS im kin<AS im kin@ kasow itz.com >
Cc:Korde,R ukesh<rkorde@ cov.com >;M ichaelJ.Bow e<M Bow e@ kasow itz.com >
S ubject:R E:Disney v.ChartisS pecialty

I just circulated a dial-in for 12:30/3:30.


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From :AlexanderS im kin[m ailto:AS im kin@ kasow itz.com ]
S ent:T hursday,S eptem ber14,2017 12:26 P M
T o:M yers,M arty <m m yers@ cov.com >
Cc:M ichaelJ.Bow e<M Bow e@ kasow itz.com >;


                        Korde,R ukesh<rkorde@ cov.com >
S ubject:R E:Disney v.ChartisS pecialty

M arty,w eareavailabletospeakw ithyou tom orrow at3:30pm ET /12:pm P T . Ifthatstillw orksforyou,canyou
circulateadial-in?

Best,
Alex

From :M yers,M arty [m ailto:m m yers@ cov.com ]
S ent:W ednesday,S eptem ber13,2017 3:24 P M
T o:AlexanderS im kin<AS im kin@ kasow itz.com >
Cc:M ichaelJ.Bow e<M Bow e@ kasow itz.com >;


                        Korde,R ukesh<rkorde@ cov.com >
S ubject:R E:Disney v.ChartisS pecialty

**External Email**

Thanks. Are you and Michael available Friday between 10:30 and 1 pacific time to discuss the issues raised in
your letter and email?


Marty Myers
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One Front Street, San Francisco, CA 94111-5356
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www.cov.com



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From :AlexanderS im kin[m ailto:AS im kin@ kasow itz.com ]
S ent:T uesday,S eptem ber12,2017 1:32 P M
T o:M yers,M arty <m m yers@ cov.com >
Cc:M ichaelJ.Bow e<M Bow e@ kasow itz.com >;


                        Korde,R ukesh<rkorde@ cov.com >
S ubject:Disney v.ChartisS pecialty
                                                                            2
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Attached pleasefind correspondencefrom M ichaelBow e.

Also,w ehavebeenretained to representChartisExcessL im itedinconnectionw ithDisney’srequestforcoverageforthe
                    litigation.Areyou representingDisney inconnectionw iththatcoveragedispute? Ifso,w ew ould
liketo find atim eto discussthedisputeresolutionprocedureforthatcaseasw ell.

Alexander Simkin
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1633 Broadway
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Tel. (212) 506-1746
Fax. (212) 835-5008
ASimkin@kasowitz.com

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                          EXHIBIT 12
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Kiburtz, Jeff

From:                                 Kathryn Cisneros <kcisneros@jamsadr.com>
Sent:                                 Friday, October 13, 2017 1:32 PM
To:                                   Kiburtz, Jeff; mbowe@kasowitz.com; Myers, Marty; Korde, Rukesh
Subject:                              Walt Disney Company vs. Chartis Specialty Insurance Company - REF# 1220057358


Dear Counsel, 
 
JAMS is in receipt of Mr. Kiburtz letter dated October 6, 2017, and Mr. Bowe’s response letter dated October 9, 2017.   
 
Upon review of the parties’ arbitration provision, JAMS was presented with an agreement that does not call for JAMS 
administration.  Since there is no agreement from the parties to allow JAMS to administer this matter, JAMS cannot 
proceed with the administration, unless provided with a stipulation from the parties or a court order.  
 
Regards, 
Kat 
 
                                     Kat Cisneros 
                                     ADR Specialist  
                                    
                                     555 W. 5th Street, 32nd Floor 
                                     Los Angeles, CA 90013 
                               
                                     kcisneros@jamsadr.com 
                                     Direct: 213‐253‐9718  
                                     Main: 213‐620‐1133 

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